 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 1 of 85



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


 PARKCREST BUILDERS, LLC                                 CIVIL ACTION

 VERSUS                                                  No. 15-1533
                                                         c/w 16-14118 and 16-15849
 HOUSING AUTHORITY OF NEW
 ORLEANS                                                 SECTION “J”(4)




               FINDINGS OF FACT AND CONCLUSIONS OF LAW

       This litigation arises out of a dispute over the construction of the Florida Avenue:

New Affordable Housing Units in New Orleans, Louisiana (the “Project”). On March 4,

2013, the Housing Authority of New Orleans (“HANO”), the Project owner, initially

entered into a contract (the “Prime Contract”) with Parkcrest Builders, LLC (“Parkcrest”),

the original contractor, to construct the Project.       The initial contract price was

$11,288,000.00 and the initial completion date was to be July 27, 2014. The relationship

between HANO and Parkcrest deteriorated during the course of the Project and on April

10, 2015, HANO terminated Parkcrest prior to completion. HANO then called upon

Liberty Mutual Insurance Company (“Liberty”) to perform its obligations as surety for

Parkcrest. On June 9, 2015, Liberty entered into a Takeover Agreement with HANO to

complete the Project and retained Parkcrest as its completion contractor. The parties

resumed work on the Project however, it continued to be plagued by delays and

disagreements as to their cause. In May and June 2016, HANO and Liberty could not agree

as to whether substantial completion had been obtained. Ultimately, HANO terminated

Liberty on June 30, 2016. On October 4, 2016, HANO entered into a contract with Colmex

                                            1
    Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 2 of 85



Construction, LLC (“Colmex”) to perform all necessary work to complete the Project. On

March 25, 2017, HANO granted a certificate of substantial completion to Colmex. To

date, the Project has still not reached final completion. Parkcrest, Liberty Mutual, and

HANO dispute who is responsible for the various delays in the construction of the Project.

        Parkcrest instituted this suit against HANO on May 8, 2015, shortly after the April

10, 2015 termination, alleging that HANO breached the Prime Contract by terminating

Parkcrest “for convenience.” (Civil Action No. 15-1533, the Principal Action.) HANO

filed a counterclaim against Parkcrest alleging that delays in the project were attributable

solely to Parkcrest. Shortly after the June 30, 2016 termination, Liberty intervened in the

Principal Action, to allege breach of the Takeover Agreement, bad faith breach of contract,

and wrongful termination against HANO. In response, HANO filed a counterclaim against

Liberty Mutual alleging bad faith breach of the Takeover Agreement and fraudulent

misrepresentation. 1 Consolidated with the Principal Action are two related lawsuits against

Parkcrest and Liberty Mutual brought by subcontractors R&P Grass Maintenance, LLC

(“R&P”) and Ted Hebert, LLC (“Hebert”) (Civil Action Nos. 16-15849 and 16-14118,

respectively). 2

        The Court held a seven-day bench trial beginning on February 20, 2018 through

March 1, 2018, and at the conclusion, took the matter under advisement.                       Having

considered all the evidence and counsels’ arguments, the Court issues the following

findings of fact and conclusions of law in accordance with Federal Rule of Civil Procedure



1
  The Court dismissed HANO’s fraudulent misrepresentation claim on June 5, 2017. (Rec. Doc. 207.)
2
  R&P’s lawsuit (Civil Action No. 16-15849) settled shortly after the commencement of trial. (Rec. Doc.
472.)

                                                  2
    Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 3 of 85



52(a). To the extent any of the following findings of fact constitute conclusions of law,

they are adopted as such. To the extent any of the following conclusions of law constitute

findings of fact, they are adopted as such.

                                       FINDINGS OF FACT


           Civil Action No. 15-1533: The Principal Action (Parkcrest v. HANO)


      I.      The Prime Contract between Parkcrest and HANO


(1)        On March 4, 2013, HANO entered into a contract (“Prime Contract”) with

Parkcrest whereby Parkcrest would serve as the contractor for the construction of the

Florida Avenue: New Affordable Housing Units in New Orleans, Contract No. 13-911-05

(“Project”). 3


(2)        The initial contract price for the Project was $11,288.000.00 and the initial

completion date was to be July 27, 2014. 4


(3)        On September 27, 2013, Construction Change Directive No. 1 was issued providing

Parkcrest with an additional 49 non-compensatory days to complete the Project. 5


(4)        Thus, the original completion date of the Prime Contract, as amended by

Construction Change Directive No. 1, was September 14, 2014. 6




3
  Stipulated Fact. See Exhibit 9, Prime Contract.
4
  Stipulated Fact.
5
  Stipulated Fact. See Exhibit 27, Change Order No. 1.
6
  Stipulated Fact.
                                                    3
    Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 4 of 85



(5)       Pursuant to the Louisiana Public Works Act, on March 4, 2013, Liberty issued a

statutory payment and performance bond, Bond No. 022045415 (the “Bond”) in the

amount of $11,288.000.00, in connection with the Project naming Parkcrest as principal

and HANO as obligee. 7


(6)       The Project is intended to be used as multi-family residential housing units.


(7)       The Prime Contract called for twenty-six duplex buildings consisting of fifty-two

separate units (fifty-one dwelling units plus one office). The Project also called for

parking, drives, a playground, and two new streets plus infrastructure and utilities to the

site. 8


(8)       The General Conditions of the Prime Contract gave HANO the authority to

terminate Parkcrest from the Project for cause or for convenience. 9


(9)       Paragraph 32 of the Prime Contract defines a “for cause” termination as follows:

          If the Contractor refuses or fails to prosecute the work, or any separate part
          thereof, with the diligence that will insure its completion within the time
          specified in this contract, or any extension thereof, or fails to complete said
          work within this time, the Contracting Officer may, by written notice to the
          Contractor, terminate the right to proceed with the work (or separable part
          of the work) that has been delayed.

(10)      Paragraph 34 of Prime Contract defines a termination “for convenience”:




7
  Stipulated Fact. “[W]hen a public entity enters into a contract in excess of $25,000.00 for the construction,
alteration, or repair of any public works, the contractor is required to post a bond ‘in a sum of not less than
fifty percent of the contract price for the payment by the contractor or subcontractor to claimants as defined
in R.S. 38:2242.’” Pierce Foundations, Inc. v. Jaroy Const., Inc., 2015-0785 (La. 5/3/16), 190 So. 3d 298,
301(citing La. R.S. 38:2241(A)(2)).
8
  See Exhibit 2323, Watts Report, at 1.
9
  Exhibit 2 at bates 238-39, General Conditions.
                                                      4
     Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 5 of 85



           The Contracting Officer may terminate this contract in whole, or in part,
           whenever the Contracting Officer determines that such termination is in the
           best interest of the [Public Housing Authority (“PHA”)] . . .
           If the performance of the work is terminated, in whole or in part, the PHA
           shall be liable to the Contractor for reasonable and proper costs resulting
           from the termination . . . .

(11)       Clause 32 of the General Conditions of the Prime Contract sets forth the following:

                                           ***
           (b)    The Contractor’s right to proceed shall not be terminated or the
           Contractor charged with damages under this clause if—
                  (1) The delay in completing the work arises from unforeseeable
                  causes beyond the control and without the fault or negligence of the
                  Contractor. Examples of such causes include . . . (ii) acts of the PHA
                  or other governmental entity in either its sovereign or contractual
                  capacity, (iii) acts of another contractor in the performance of a
                  contract with the PHA . . .
                                           ***
           (c)    If, after termination of the Contractor’s right to proceed, it is
           determined that the Contractor was not in default, or that the delay was
           excusable, the rights and obligations of the parties will be the same as if the
           termination had been for convenience of the PHA.

(12)       Perez, APC (“Perez”) was the architect of record for the Project. 10


(13)       Section A.1.2.1 of the Model Form of Agreement Between Owner and Design

Professional 11 states that:

           After receipt of a Notice to Proceed from the Owner, the Design
           Professional shall prepare and deliver Schematic Design/Preliminary Study
           Documents. These documents shall consist of a presentation of the complete
           concept of the Project, including all major elements of the building(s), and
           site design(s), planned to promote economy both in construction and in
           administration and to comply with current program and cost limitations.
           The Design Professional shall revise these documents consistent with the
           requirements and criteria established by the Owner to secure the Owner’s
           written approval. Additionally, the Design Professional shall make an
           independent assessment of the accuracy of the information provided by the



10
     Stipulated Fact.
11
     Exhibit 88 at 4, A/E Services Contract with HANO.
                                                     5
     Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 6 of 85



         Owner concerning existing conditions. Documents in this phase shall
         include:
                Site plan(s)
                Schedule of building types, unit distribution and bedroom count
                Scale plan of all buildings, and typical dwelling units
                Wall sections and elevations
                Outline specifications
                Preliminary construction cost estimates
                Project specific analysis of codes, ordinances and regulations
                Three-dimensional line drawings

(14)     Perez was responsible for reviewing pay applications submitted by Parkcrest for

payment on the Project and recommending approval of pay applications to HANO. 12


(15)     In each certification of payment, Perez attested to HANO that “the Work has

progressed as indicated, the quality of the Work is in accordance with the Contract

Documents, and the Contractor is entitled to payment of the AMOUNT

CERTIFIED.” 13


(16)     Weekly construction progress meetings – otherwise referred to as Owner-

Architect-Contractor (“OAC”) meetings – were held in connection with the Project among

representatives of Perez, Parkcrest, and HANO. 14


(17)     Perez maintained Meeting Agendas and Meeting Minutes for the foregoing weekly

OAC meetings for the Project. 15




12
   Stipulated Fact. See in globo Pay Applications, Exhibit 455.
13
   See e.g., Exhibit 1138, at bates 15294, Architect Application and Certification for Payment.
14
   Stipulated Fact.
15
   Stipulated Fact.
                                                     6
     Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 7 of 85



(18)     Integrated Logistics Support Incorporated (“ILSI”) was a subconsultant of Perez

and served as the engineer for the street, water, and sewerage portions of the Project.


(19)     On April 3, 2013, HANO issued a Limited Notice to Proceed to Parkcrest for the

Project. 16


(20)     When the Limited Notice to Proceed was issued, HANO still did not have approved

civil infrastructure plans for the Project. Parkcrest was unable to proceed with any civil

infrastructure work without an approved set of plans.


(21)     The Limited Notice to Proceed did not include any electrical infrastructure 17 work

for the Project’s residential units.


(22)     The Limited Notice to Proceed only authorized Parkcrest to begin the following

work, not to exceed $1,829,174:

         All Work within the public Right-of-Way (ROW) on the new Independence
         and Pauline Streets; and within the ROW along Congress Street, Law Street,
         Alvar Street and N. Dorgenois Street; and the three blocks noted as the
         “Contractor Staging Area” on Sheet T1.3, hereafter noted as the “Work
         Area”.
         1.   Initial site cleanup
         2.   Selective demolition
         3.   Selective clearing
         4.   Grading within the Work Area
         5.   Excavation
         6.   Trenching
         7.   Fill and backfill
         8.   Manholes and structures
         9.   Site storm utility drainage piping, including laterals a minimum of
              five feet (5’) beyond property line in full pipe-length increments


16
  Stipulated Fact; See Exhibit 11, Limited Notice to Proceed.
17
  Mark Bacques, a senior engineer associate at Entergy, testified at trial that “electrical infrastructure” is the
overhead or underground electrical facilities such as power lines, transformers, and so on.
                                                        7
     Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 8 of 85



           10.    Pipe culverts
           11.    Water mains, valves and laterals up to and including the water meter
                  boxes, which are included as part of the Work Area
           12.    Sanitary sewer mains and laterals up to and including the cleanouts,
                  which are included as part of the Work Area
           13.    Street lighting power distribution systems including accessories such
                  as pull boxes
           14.    Street lighting foundations
           15.    Concrete paving (including curbs)
           16.    Concrete drive aprons up to the property line
           17.    Connection of all elements of Work to existing elements at Congress
                  Street, Law Street, Alvar Street and N. Dorgenois Street.
           18.    General Conditions associated with the Work within the Work Area,
                  including, but not necessarily limited to:
                  a. Building Permits
                  b. Field office trailer
                  c. Storage containers
                  d. Temporary facilities
                  e. Field office compound and staging area
                  f. Temporary fencing
                  g. Site maintenance
                  h. Coordination with utility companies
           19.    Implementation of the Storm Water Pollution Prevention Plan (SWPPP)


(23)       Mike Stewart, the Vice President of Parkcrest and superintendent of the Project for

the duration of Parkcrest’s involvement, testified that despite receiving this Limited Notice

to Proceed, Parkcrest was unable to begin work on most of these items because HANO had

not received its approved set of plans from the Department of Public Works (“DPW”). 18


(24)       HANO issued a Full Notice to Proceed on June 7, 2013 for the Project. 19


(25)       Numerous material delays on the Project were caused by issues and parties out of

Parkcrest’s control, including but not limited to, the re-design of the water and sewer lines,




18
     Stewart Testimony.
19
     Stipulated Fact; Exhibit 13.
                                                8
     Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 9 of 85



delayed supply of permanent power, re-design of site street lighting, installation of gas

meters, and the roof vent re-design.


(26)         These delays were caused by HANO, Perez, and other third parties outside the

control of Parkcrest, such as the Sewerage and Water Board of New Orleans (“SWB”) and

Entergy.


       II.      The Delays


             A. Entergy’s Redesign and Installation of Power Poles


(27)         Entergy was a separate, co-prime contractor for the Project due to a separate prime

contract between Entergy and HANO for the installation of the electrical infrastructure.


(28)         Parkcrest did not have a contract with Entergy but was responsible for coordinating

with all the utility companies to coordinate their work with Parkcrest’s work on-site.


(29)         On August 14, 2013, Parkcrest emailed HANO a list of utility contacts and its utility

infrastructure schedule which provided the time frames that Parkcrest needed each utility

to be completed. 20


(30)         Generally, with respect to the electrical infrastructure, gas installation, and power

pole work, testimony revealed that a proposed layout would be submitted to Entergy, then

Entergy would create a design and would invoice HANO for the estimated cost of the work.




20
     Exhibit 217, Parkcrest email to HANO dated August 14, 2013.
                                                    9
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 10 of 85



Once HANO paid that cost, then Entergy would mobilize its construction crews to come

install the work. 21


(31)       As of June 3, 2013, Entergy had yet to install temporary power poles at the Project

site, despite Parkcrest’s attempt to coordinate with Entergy for their installation.


(32)       Without temporary power, Parkcrest was not able to perform its work on the

Project.


(33)       Entergy was responsible for the design and installation of the street power poles at

the Project.


(34)       As of December 19, 2013, Entergy’s power pole location design was six months

overdue. 22


(35)       In early January 2014, HANO approved payment for Entergy to commence work

on pole relocation activities.


(36)       Entergy was not on the Project site to stake the location of the power poles until

February 5, 2014.


(37)       In late February 2014, approximately nine months later than Parkcrest planned to

start site electrical work, Entergy began installing the new poles.




21
     Mark Bacques testimony.
22
     Project meeting dated 12/19/13.
                                               10
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 11 of 85



(38)    Entergy had to re-design the power pole design in March 2014 because it did not

match the electrical site plans in the Project drawings. 23


(39)    By April of 2014, Entergy completed its installation of temporary power poles at

the Project.


(40)    Parkcrest’s expert in schedule analysis and construction, Tom Finnegan, opined

that “Entergy’s work related to the relocation of the power poles was delayed due to delays

in Entergy’s design phase and proposal submission, work related to removing the existing

power poles, and additional time needed to repair damaged work.” 24


(41)    Delay in relocation of the power poles delayed other Entergy work, including

providing site lighting and supplying permanent power to the site. 25


        B. Entergy’s Design of Underground Utilities/Delay in Providing Permanent

            Power


(42)    Entergy was responsible for the design of the electrical infrastructure at the Project,

including the design of the underground electrical utilities.




23
   HANO email to Entergy dated 3/11/14.
24
   Exhibit 2324, Finnegan Report, at 11.
25
   Stewart testified that HANO was responsible for the Entergy related delays because (1) HANO delayed
payment related to the relocation of the power poles and (2) HANO delayed executing a Right-of-Way
agreement and paying for design work and infrastructure, which prevented Entergy from installing the
electrical infrastructure until September 2014.



                                                 11
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 12 of 85



(43)    HANO was responsible for contracting with and paying Entergy for the design and

construction of that infrastructure, which is required before permanent power is available.


(44)    In August 2013, Parkcrest provided HANO with the contract information and the

action items required for HANO to obtain permanent power to the site.


(45)    One of the first steps in the process required HANO to enter into a Right of Way

Agreement (“ROW Agreement”) with Entergy prior to Entergy installing its infrastructure.


(46)    Entergy did not submit a design for the underground electrical infrastructure on the

Project to HANO until March 7, 2014.


(47)    Entergy then submitted a revised design for the underground electrical

infrastructure on the Project to HANO on March 25, 2014.


(48)    Perez had no authority to revise Entergy’s design of the Project’s underground

electrical infrastructure.


(49)    Despite having no authority to alter Entergy’s underground electrical infrastructure,

HANO nevertheless sought Perez’s input on the design. Specifically, on March 25, 2014,

HANO requested that Perez review Entergy’s revised design for the underground electrical

infrastructure.


(50)    HANO did not seek to obtain approval for the ROW Agreement between HANO

and Entergy to allow Entergy to begin installation of the underground electrical distribution

infrastructure for the Project until Perez reviewed Entergy’s revised design for the

underground electrical infrastructure.

                                             12
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 13 of 85



(51)    The ROW Agreement between HANO and Entergy was not executed by HANO

until May 5, 2014. 26


(52)    Under the terms of the ROW Agreement, Entergy contracted to install the

underground electrical distribution infrastructure.


(53)    Accordingly, no contract was in place with Entergy to install the underground

electrical infrastructure at the time of issuance for either the Limited Notice to Proceed or

the Full Notice to Proceed.


(54)    Parkcrest is not a party to the ROW Agreement.


(55)    Accordingly, as a non-party, Parkcrest had no contractual ability to control

Entergy’s work pursuant to the ROW Agreement or force compliance with that contract.


(56)    Moreover, HANO contractually granted Entergy eight (8) weeks from the

execution of the ROW Agreement to begin the work and up to three (3) months to complete

the installation of the underground infrastructure. Accordingly, HANO potentially gave

Entergy until September 30, 2014 to complete that work. 27


(57)    As of the date of the execution of the ROW Agreement, Parkcrest was still under a

contractual obligation to complete the Project by September 14, 2014.




26
 Stipulated Fact.
27
 Eight weeks from May 5, 2014, the date of the ROW Agreement’s execution, was June 30, 2014, and three
months from that date was September 30, 2014.
                                                 13
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 14 of 85



(58)     Nevertheless, the electrical underground infrastructure was required to be complete

before Parkcrest could begin certain other aspects of work on the Project.


         C. Entergy’s Installation of Underground Utilities for the Project/Delay in

             Providing Permanent Power

(59)     As of June 1, 2014, Entergy’s work on the underground electrical distribution

infrastructure had not yet begun on the Project. 28


(60)     On June 5, 2014, HANO notified Entergy by email that “the general contractor is

preparing to submit a delay claim” because Entergy had still not begun the installation of

the underground electrical distribution infrastructure.


(61)     On June 30, 2014, because Entergy had still not begun the installation of the

underground electrical distribution infrastructure, HANO notified Entergy “that continued

delays are affecting the critical path” of the Project.


(62)     On July 7, 2014, HANO’s Project Manager, Hollie DeHarde, and HANO’s

Construction Manager, Patrick Kennedy, 29 co-authored an internal memorandum

analyzing the impact of the known Entergy-related delays as of that date (“Entergy

Memorandum”). 30




28
   Stipulated Fact.
29
   Patrick Rowan Kennedy, HANO’s Construction Manager for the duration of the Project, was assigned to
oversee and act as the owner’s representative on the site. His responsibilities included reviewing the progress
of the work, providing updates to Jennifer Adams, HANO’s Director of Development and Modernization,
and assisting in reviewing change orders.
30
   Exhibit 2314, HANO Internal Entergy Memorandum dated 7/7/14.
                                                     14
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 15 of 85



(63)    According to the Entergy Memorandum, as of July 7, 2014, the Project was twenty-

one (21) days behind schedule because of Entergy-related delays, Entergy’s underground

infrastructure work had not yet begun, and the “contractor is unable to proceed with certain

aspects of the project without infrastructure on site.” 31


(64)    In August 2014, Entergy finally reported onsite and began electrical utility

installation work.


(65)    Entergy did not complete the installation of its underground utilities and provide

power to the site until September 16, 2014, two days after Parkcrest’s contract completion

date of September 14, 2014. 32


(66)    Until Entergy was complete with its underground utility installation, Parkcrest was

unable to complete multiple critical items at the project, including but not limited to

pouring concrete or completing the final grade.


        D. Kitchen Electrical Outlet Re-Design


(67)    Although Entergy completed the installation of the electrical infrastructure on

September 16, 2014, permanent power necessary to commence the interior work was

further delayed by HANO’s re-design of the kitchen electrical outlets. 33


(68)    In order for the units to receive permanent power, Parkcrest needed electric meters

installed. However, electric meters could not be installed until the units passed all electrical



31
   Exhibit 2314, HANO Internal Entergy Memorandum dated 7/7/14.
32
   Parkcrest email to HANO dated 1/5/15.
33
   Exhibit 2324, Finnegan Report, at 24.
                                               15
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 16 of 85



inspections, and the inspections could not be completed until all electric outlets, including

the kitchen outlets, were completed. 34


(69)     In August 2014, while performing work on the kitchens, Parkcrest’s electrical

subcontractor noticed a conflict between the proposed location of the electrical outlets and

the kitchen backsplashes in the units.


(70)     Parkcrest immediately notified Perez of the design error. HANO insisted that

Parkcrest submit a formal Request for Information (“RFI”) requesting direction from Perez

on August 15, 2014 on how to proceed instead of just informally resolving what was a

relatively simple issue. 35


(71)     On September 8, 2014, HANO and Perez changed the design of the outlets and

backsplashes to resolve the design conflict.


(72)     On November 17, 2014, three months after Parkcrest first raised the issue, HANO

executed Change Order No. 4, which incorporated the design change and directed Parkcrest

to install the redesigned kitchen outlets and backsplashes. 36




34
   Stewart Testimony.
35
   Exhibit 275, RFI 99. Requests for Information (RFIs) are formal requests for information or direction sent
by the contractor to the architect regarding issues that arise during construction.
36
   Exhibit 848, Change Order No. 4; Stewart testified that the design conflict could have easily been resolved
in a matter of days and that the formalities unnecessarily delayed Parkcrest’s progress on this work.
                                                     16
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 17 of 85



(73)    Parkcrest installed the re-designed outlets and obtained approved inspections on or

about November 20, 2014. 37 Parkcrest then had to wait for Entergy to inspect the units

and install electric meters before permanent power was provided.


(74)    Entergy completed its installation of all electrical meters on the Project on January

5, 2015. 38


(75)    The meters were required for several critical Parkcrest interior activities, such as

installation of vinyl plank flooring and the completion of the HVAC system installation.

Finnegan opined that the delays to permanent power did not allow Parkcrest to complete

interior finishes prior to April 10, 2015. 39


        E. Entergy Gas Meter Installation Delay


(76)    As early as mid-October 2014, Parkcrest was ready for Entergy to begin installing

gas meters and requested Entergy to begin this work. 40


(77)    Similar to permanent power, only HANO could contract with Entergy for these

services.


(78)    In December 2014, Entergy informed Parkcrest that they could not start the work

until the gas accounts were set up.




37
   Project meeting dated 11/20/14.
38
   Exhibit 2324, Finnegan Report, at 25; HANO email to Parkcrest dated 1/9/15
39
   Exhibit 2324, Finnegan Report, at 25.
40
   Exhibit 2324, Finnegan Report, at 28.
                                                  17
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 18 of 85



(79)    It was HANO’s responsibility to secure the gas accounts with Entergy. HANO had

set up electrical account for the units, but did not realize it was required to make a separate

and additional request for service for these gas accounts.


(80)    HANO did not set up its gas service accounts until January 2015. 41


(81)    For reasons outside of Parkcrest’s control, Entergy did not begin installing gas

meters until April 7, 2015 and even then would only install 20 per week. 42


(82)    Entergy did not complete its gas meter installation until after Parkcrest was

terminated from the Project.


        F. HANO and Entergy’s Delays Involving Street Lights


(83)    A portion of Parkcrest’s scope of work included work to refurbish, relocate, and

replace light poles at the Project site.


(84)    HANO wanted to reuse some of the pre-existing light poles for aesthetic reasons,

but Parkcrest could not proceed with the pole foundations until DPW approved of the plans

to reuse those light poles. 43


(85)    Parkcrest originally planned to begin the site lighting work in February 2014;

however, discussions of revisions to the light pole design among Entergy, HANO, Perez,

and other parties continued into May 2014.




41
   Project meeting dated 1/22/15.
42
   HANO email to Parkcrest dated 3/26/15; Project meeting dated 4/2/15; Stewart Testimony.
43
   Stewart Testimony.
                                                  18
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 19 of 85



(86)    Due to delays related to Entergy’s work on providing permanent power to the site

and continuous reviews and revisions of the site lighting plans, Parkcrest could not begin

installation of light pole bases until November 2014, roughly eight months later than it

originally planned. 44


(87)    This delay was outside of Parkcrest’s control and affected the critical path of the

Project.


(88)       Parkcrest continued to address DPW issues from January 2015 through termination

in April 2015. 45


        G. Roof Vent Redesign Delay


(89)    On January 7, 2014, Parkcrest issued RFI 56 requesting information on a ventilation

system for the roofs because Perez’s design at that time did not allow a venting mechanism

in the roof system. 46


(90)    Perez responded to RFI 56 on January 29, 2014, stating that roofing system did not

permit or require venting. 47


(91)    In accordance with this direction, Parkcrest completed installation of all the roofs

in April 2014 with no venting system.




44
   Exhibit 2324, Finnegan Report, at 13; Parkcrest email to HANO dated 8/6/14.
45
   Exhibit 2324, Finnegan Report, at 13.
46
   Stewart Testimony; Exhibit 334, RFI 56.
47
   Exhibit 334, RFI 56.
                                                  19
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 20 of 85



(92)     In October 2014, six months after the installation of the roofs was complete, some

of the asphalt shingles on one of the buildings were observed to be “buckling.”


(93)     In the following weeks, in conjunction with an investigation into the cause of the

buckling of shingles, Atlas, the shingle manufacturer, informed Parkcrest that it would not

honor its warranty if the attic was not ventilated.


(94)     Perez responded that the attic was part of the conditioned space and that the

warranty should not be voided. 48


(95)     Discussions continued, but in January 2015, Atlas advised the parties that the lack

of ventilation would void the applicable warranties, due to excessive condensation and heat

build-up in the attic. 49


(96)     Expert testimony established that Perez’s design of the attic was a breach of the

applicable standard of care. 50


(97)     Parkcrest suggested a potential solution to the design issue, installation of ridge

vents, which was approved by Atlas to meet the warranty requirements in February 2015. 51




48
   Exhibit 620.
49
   Exhibit 745, Atlas letter dated 1/12/15.
50
   Exhibit 2323, Watts Report, at 5.
51
   Project meeting dated 2/5/15.
                                              20
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 21 of 85



(98)    Perez issued a Request for Proposal (“RFP”) for Parkcrest to install the proposed

venting on February 20, 2015, and Parkcrest submitted its proposal for the work on March

2, 2015. 52


(99)    Parkcrest subsequently submitted additional information regarding its proposal on

April 8, 2015. 53


(100) HANO did not respond to Parkcrest’s proposals until after Parkcrest’s termination

and after Liberty had taken over the Project. 54


        H. The Revised Sewerage and Water Board Plans


(101) The Project was also delayed as a result of late approval by the Sewerage and Water

Board (“SWB”) of redesigned site plans and unforeseen difficulties in locating the utility

tie-ins for the Project.


(102) Per Parkcrest’s utility schedule, the installation of water and sewer lines was

planned to start in May 2013 and to be completed in September 2013, for a planned

duration of approximately four months.


(103) Perez, through ILSI, provided Civil Site Drawings, C3.00 and C3.20, indicating

where the utility tie-ins should be located throughout the Project.




52
   Parkcrest letter to HANO dated 6/17/15.
53
   Parkcrest letter to HANO dated 6/17/15.
54
   Stewart Testimony.
                                             21
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 22 of 85



(104) Ultimately, the utility tie-ins on Alvar Street were not where the plans depicted

them to be.


(105) Parkcrest was required to perform exploratory digging to locate the utility tie-ins

on Alvar Street and Congress Street for the Project.


(106) Beginning in June 2013, Durr Construction, LLC (“Durr”), the original site work

subcontractor, struggled to locate the utility tie-ins/existing sewer and water lines as shown

in the utility plans.


(107) In June 2013, Parkcrest asked HANO for copies of the Project infrastructure “as-

builts” for guidance on the location of the tie-ins. 55 A HANO internal email shows that

Kennedy had the infrastructure as-builts from 2003 but specifically withheld the documents

from Parkcrest due to his concern over possible differences between the as-builts and the

drawings submitted for bid. Specifically, Kennedy stated, “I do not want to give any

ammunition for change orders if it is not necessary.” 56


(108) Parkcrest was never provided the as-builts while it was performing exploratory

digging or at any time prior to its April 10, 2015 termination. 57


(109) In November of 2013, HANO and Parkcrest met with SWB to discuss site utility

tie-ins on Alvar Street for the Project. 58




55
   Exhibit 218, June 26, 2013 email from Kennedy to DeHarde.
56
   Exhibit 218, June 26, 2013 email from Kennedy to DeHarde.
57
   Exhibit 940, Project 2003 infrastructure as-builts. It was not until July 7, 2015 that Perez emailed the 2003
as-builts to Parkcrest, after the Takeover Agreement was executed and after Parkcrest had been terminated.
58
   Stipulated Fact.
                                                      22
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 23 of 85



(110) After eventually locating the existing utilities on Alvar and Congress Streets,

Parkcrest issued RFI No. 51 on December 12, 2013, seeking direction on several design

issues, including how to tie into the existing utility connections. 59


(111) HANO, its representatives, Parkcrest, and SWB met in both January and February

2014 to discuss the issues, and HANO’s design team acknowledged that re-designed

drawings would be required. 60


(112) ILSI did not substantively respond to RFI No. 51 until February 27, 2014, wherein

Nick Clark, the civil and structural engineer of record for ILSI, acknowledged that the

utility tie-in plans for Alvar and Congress Streets had to be revised per the results of

Parkcrest’s exploratory digging and re-submitted for approval to SWB.


(113) In late February of 2014, ILSI provided SWB with copies of the amended Civil Site

Drawings, C3.00 and C3.20, relating to utility tie-in locations for Alvar and Congress

Streets. 61


(114) SWB had to stamp and re-approve ILSI’s amended Civil Site Drawings before

Parkcrest could begin the utility tie-in work.


(115) Between March of 2014 and September of 2014, testimony revealed that Parkcrest

made every reasonable effort to obtain the revised, stamped drawings from SWB.




59
   Exhibit 2324, Finnegan Report, at 14; Exhibit 942, RFI No. 51 dated 12/13/13.
60
   See ILSI email to HANO and Parkcrest dated 1/13/14.
61
   Stipulated Fact.
                                                   23
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 24 of 85



(116) SWB eventually approved of the re-designed tie-in plans for Alvar and Congress

Street, which were stamped by SWB on September 3, 2014. 62


(117) Receiving revised civil drawings 15 months into the Project dramatically changed

how the utility connections had to be installed such that Parkcrest was forced to find a

replacement contractor to perform the work.


(118) Parkcrest entered into a time and materials contract with Ted Hebert, LLC

(“Hebert”) to complete the Alvar and Congress Street sewer and water line work.


(119) After receiving the stamped drawings, further issues arose with respect to Hebert’s

placement of the Alvar Street sewer line within HANO’s property requiring comment by

SWB. 63


(120) As of Parkcrest’s termination on April 10, 2015, the Alvar Street water and sewer

tie-in issues had not been resolved.


(121) With respect to Congress Street, Hebert experienced difficulty in January and

February 2015 with the sewer line installation, 64 but the work was ultimately completed in

March 2015 prior to termination. 65




62
   Stipulated Fact.
63
   The issues concerning Ted Hebert’s placement of the Alvar Street Sewer line are discussed in detail infra
at 70.
64
   Project meeting dated 2/5/15.
65
   Exhibit 2324, Finnegan Report, at 15.
                                                    24
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 25 of 85



            I. Flatwork, 66 Gutters, Windows


(122) The completion of the street and sidewalk flatwork was dependent upon the

installation of the underground utilities, which was delayed due to SWB’s redesign work. 67


(123) The installation of exterior gutters and downspouts was incomplete as of

Parkcrest’s termination on April 10, 2015 due to the delays to final grading, which was in

turn delayed by Entergy and SWB underground infrastructure delays. 68


(124) As of Parkcrest’s termination on April 10, 2015, nearly all window leak issues had

been resolved, but Parkcrest had not been able to satisfy all of HANO’s unreasonable

requests regarding the windows.


     III.      Notice of Default and Parkcrest Termination


(125) Parkcrest repeatedly updated HANO of the delays it was experiencing at the Project

and HANO was aware of all delays experienced by Parkcrest.


(126) Parkcrest did not fail to provide a contract performance schedule timely and as

necessary. It also did not fail to maintain a critical path schedule 69 or to coordinate with

utilities as necessary. 70




66
   The Court understands “flatwork” to generally mean work concerning the concrete that rests on the ground,
such as, driveways and sidewalks.
67
   Exhibit 2324, Finnegan Report, at 15, 17.
68
   Exhibit 2324, Finnegan Report, at 31; See Stewart Testimony.
69
   See Finnegan Testimony and OAC meeting minutes.
70
   Additionally, it was impractical for Parkcrest to maintain a grade within six inches throughout the extended
period of time that Entergy had to complete the underground infrastructure while Parkcrest was also expected
and attempting to complete other work on the Project. The evidence established that Parkcrest merely needed
                                                     25
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 26 of 85



(127) On September 12, 2014, Parkcrest issued written notification to HANO of the

following delays: (1) the supply of permanent power infrastructure to the Project worksite;

(2) delay related to site lighting; (3) delays in obtaining accounts for gas meters which were

installed by Entergy; (4) issues related to roof design and ventilation; and (5) a design

change made to the sewer system. 71


(128) In the notice, Parkcrest also stated that the extent and total impact of these delays

was unknown because many of the aforementioned issues were out of Parkcrest’s control.


(129) The delays - and the fact that they were out of Parkcrest’s control - had been

discussed at OAC meetings prior to this written notice. 72


(130) On September 15, 2014, HANO sent Parkcrest a Notice of Default. 73


(131) On April 10, 2015, HANO terminated Parkcrest from the Project and made demand

upon Liberty to complete the Project. 74


(132) Gregory Fortner, the executive director at HANO, made the decision to terminate

Parkcrest without consulting any HANO representative regularly involved in the Project.75


(133) As of April 10, 2015, the Project was 93.8 percent complete. 76




a half day’s notice to achieve the grade prior to Entergy arriving on site and that Parkcrest communicated
that fact accordingly.
71
   Exhibit 350; Exhibit 17, Letter from Parkcrest to HANO dated 9/12/14.
72
   Stewart Testimony.
73
   Stipulated Fact.
74
   Exhibit 22, Notice of Final Default and Termination to Parkcrest dated 4/10/15.
75
   Testimony of Gregory Fortner.
76
   Exhibit 455, Pay Application 22; See Exhibit 2324, Finnegan Report, at 36. This percentage is based off
of Pay Application 22 (dated February 26, 2015), which was the last pay application submitted by Parkcrest
                                                   26
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 27 of 85



(134) As of April 10, 2015, Entergy had not completed its gas meter installation for the

Project.     It was impossible for Parkcrest to complete the Project without Entergy

completing its gas meter installation.


(135) As of April 10, 2015, the issue of the Alvar street water and sewer tie-ins remained

unresolved. 77      In turn, the exterior work that remained included certain flatwork,

landscaping, and fencing, which were impractical, if not impossible, to complete without

the resolution of the sewer and water issues.


(136) As of April 10, 2015, neither HANO nor Perez had authorized Parkcrest to begin

the installation of roof vents for all 52 units of the Project. It was impossible for Parkcrest

to complete the Project without installing roof vents for the 52 units at the Project. 78


(137) The record revealed that Parkcrest performed sufficient project management,

quality control, and supervision of the work on the Project. 79


(138) Any delays attributable to Parkcrest were concurrent with other Project delays not

attributable to Parkcrest, such as roof vent installation and delivery and installation of gas

meters. 80




prior to its April 2015 termination. Finnegan opined that Pay Application 22 provides the clearest detail into
the work completed by Parkcrest prior to its termination on April 10, 2105. See also Stewart Testimony.
77
   Project meetings dated 4/2/15 and 6/18/15.
78
   Exhibit 2324, Finnegan Report, at 36.
79
   See e.g., Brad Fisher testimony.
80
   Exhibit 2324, Finnegan Report, at 32.
                                                     27
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 28 of 85



(139) On April 10, 2015, Liberty was notified of Parkcrest’s termination from the Project

and immediately began its investigation into the Project and termination of Parkcrest.


     IV.      From Termination of Parkcrest through Execution of the Takeover

              Agreement


(140) On June 1, 2015, Liberty, HANO, and Parkcrest executed the Interim Takeover

Agreement for the Project and Parkcrest began performing the work required by the Interim

Takeover Agreement, including cleaning and securing the Project site.


(141) On June 9, 2015, Liberty and HANO executed the Takeover Agreement for the

Project. 81


(142) Utilizing its sole discretion under the Takeover Agreement, Liberty hired Parkcrest

to serve as the “Completion Contractor" to complete the work under the Takeover

Agreement. 82


(143) At the time of Liberty Mutual’s takeover, HANO had paid Parkcrest $9,909,046.57,

and the remaining balance on the Contract was $1,363,318.43.


(144) Rudy Dominguez, surety claims counsel for Liberty, testified that hiring Parkcrest

as the Completion Contractor was the most cost-effective and efficient means of

completing the Project. 83




81
   Stipulated Fact; Exhibit 23, Takeover Agreement.
82
   Stipulated Fact; Exhibit 24, Completion Contract between Parkcrest and Liberty dated 6/9/15.
83
   Dominguez testimony.
                                                   28
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 29 of 85



(145) Paragraph 1 of Takeover Agreement states that

                   Surety agrees to arrange for the performance of all work needed to
           complete the Project in accordance with the terms and conditions of the
           Contract. The terms and conditions of the Contract with any amendments,
           modifications, or change orders as of the date of this Agreement, are
           incorporated by reference and, except as set forth herein, shall govern the
           rights and liabilities of the parties hereto. However, neither the
           incorporation of the Contract nor any of the Contract documents included
           by reference therein shall abridge, reduce, diminish, or modify in any way
           any of the rights, limitations, defenses, and/or claims available to Surety nor
           shall any provision therein or herein diminish, increase or expand in any
           way the obligations and/or responsibilities of the Surety beyond those
           required of the Surety under the Louisiana Public Works Act (La. R.S.
           38:2181, et seq., La. R.S. 38:2211, et seq., and La. R.S. 38:2241, et seq.)
           (“Public Works Act”).

(146) Paragraph 2 of the Takeover Agreement limits Liberty’s liability to the penal sum

of its Bond. 84


(147) Per Paragraph 5 of the Takeover Agreement, Liberty agreed to complete the work

by August 7, 2015, with completion of the work as “substantial completion” under La. Rev.

Stat. § 38:2241.1. 85


(148) The Takeover Agreement specifies that if Liberty did not bring the Project to

substantial completion by August 7, 2015, liquidated damages would accrue at a rate of

$1,189.00 per day until the work was substantially complete.


(149) HANO released Liberty from any claim to liquidated damages accruing between

April 10, 2015 and August 7, 2015 under the Takeover Agreement.




84
     See Rec. Doc. 207 at 19, Court’s Order and Reasons dated 6/5/17.
85
     Exhibit 23, Takeover Agreement.
                                                     29
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 30 of 85



     V.       From Execution of the Takeover Agreement through HANO’s

              Termination of Liberty from the Project


(150) After execution of the Takeover Agreement, Liberty and Parkcrest immediately

took steps to remobilize at the Project.


(151) Within weeks of returning to the site, HANO directed Liberty to demolish

previously constructed and approved balconies for 13 of the 26 buildings at the Project,

which would have resulted in months of additional delay to the Project. Ultimately, HANO

withdrew this improper directive. 86


(152) On June 26, 2015, more than 18 months after Parkcrest originally raised the issue

in RFI 56, Perez issued a formal request for proposal for Liberty to install roof vents at the

Project. 87




86
   See Exhibit 27, Construction Change Directive. Specifically, the record revealed that Parkcrest submitted
a proposal for “value engineered balconies,” which called for different and less expensive materials from
those stated in the Contract. HANO approved the “value engineered balconies” in the first change order
(executed 10/9/13). Because less expensive materials were used, Parkcrest gave HANO a $22,300 credit.
On July 13, 2015, after returning to the Project following the April 10, 2015 termination, HANO demanded
that the balconies be demolished and reconstructed in accordance with the original contract documents. See
Exhibit 1083, ASI 15, dated 7/13/15. Stewart testified that it took a “tremendous” effort to explain everything
to HANO again, to convince them that this was unnecessary, and that the “value engineered balconies” had
previously been approved. HANO eventually rescinded its order for the demolition of the balconies in ASI
18. See Exhibit 1084, ASI 18, dated 10/1/15. ASI 18 also stated that the balconies in Buildings 23 and 25
“remain rejected” based on a separate deficiency - the concrete was poured while it was raining. HANO
based its rejection on the findings within an ILSI memorandum concerning the balconies. However, this
memorandum does not support HANO’s determination that the balconies are deficient. ILSI concluded from
its review of the concrete that “the concrete was placed properly and should have adequate strength”. ILSI
merely recommended periodically monitoring the balconies for cracks. See Exhibit 114, ILSI Memorandum
dated 7/7/14.




                                                     30
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 31 of 85



(153) On August 13, 2015, HANO executed Change Order No. 6, directing Liberty to

install roof vents and allowing Parkcrest through November 8, 2015, over two months past

the August 7, 2015 completion date, to complete this work. 88


(154) On August 14, 2015, HANO issued a Notice of Default to Liberty alleging that

Liberty had failed to complete the work within the time specified in the Takeover

Agreement. 89


(155) On November 25, 2015, Brad Fisher of Parkcrest requested punch list inspections

for Buildings 1-16. 90


(156) On December 1, 2015, Fisher requested punch list inspections for Buildings 17-

26. 91


(157) On December 11, 2015, Fisher again requested punch list inspections beginning

December 14, 2015 and substantial completion of the Project as of December 21, 2015. 92


(158) As of December 15, 2015, Mark Clayton, the primary project manager for Perez

and acting architect for the Project, performed a punch list inspection for the exterior of

Building 1. Clayton stopped his review upon discovering deficiencies in the exterior of

Building 1.




88
   Exhibit 25, Change Order No. 6 dated 6/30/15; see Finnegan Testimony.
89
   Exhibit 1256, Notice of Default dated 8/14/15.
90
   Exhibit 375, Email from Parkcrest dated 11/25/15.
91
   Exhibit 376, Email from Parkcrest dated 12/1/15.
92
   Stipulated Fact; Exhibit 378, Email from Parkcrest dated 12/11/15.
                                                  31
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 32 of 85



(159) Two weeks later, on December 30, 2015, Clayton formally notified HANO that he

reviewed Parkcrest’s work on Building 1 and that the work was not ready for substantial

completion.


(160) Although he served as the acting architect on the Project, Mark Clayton was not,

and never has been, a licensed architect.


(161) The City of New Orleans Departments of Safety and Permits (the “City” or “DSP”)

is “[t]he officer or other designated authority charged with the administration and

enforcement” of the applicable building codes.


(162) By December 31, 2015, the City had inspected the Project and found that the work

performed by Parkcrest “was completed in compliance with the applicable provisions of

the New Orleans Amendments to the International Building Code and Comprehensive

Zoning Ordinance.”


(163) By December 31, 2015, the DSP had issued Certificates of Occupancy and

Completion for all 52 units. 93


(164) The Date of Full Availability (“DOFA”) is the “last day of the month in which

substantially all (95 percent or more) of the units in a public housing

project are available for occupancy.” 94




93
     Stipulated Fact “under different phrasing.” See Exhibits 30 to 80.
94
     See 24 CFR 905.108.
                                                       32
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 33 of 85



(165) HANO represented to the U.S. Department of Housing and Urban Development

(“HUD”) that the DOFA for the Project was December 31, 2015. 95


(166) As proof that substantially all of the units were available for occupancy, HANO

submitted the 52 Certificates of Occupancy for the Project to HUD.


(167) As of December 31, 2015, the Project could be occupied and used for its intended

purpose as a multi-family residential dwelling.


(168) Liberty did not receive a Preliminary Punchlist Evaluation until January 6, 2016. 96


(169) Beginning in late December 2015, Parkcrest repeatedly requested substantial

completion punch list inspections from HANO and Perez on all 52 units. For a majority

of the units, Parkcrest had to make a minimum of three requests through March and April

2016 before HANO or Perez performed an inspection or provided a punchlist therefrom. 97


(170) On March 23, 2016, Perez approved Pay Application No. 31T for the Project

recommending payment in the amount of $32,475.96. 98


(171) Perez’s Architect’s Certificate for Payment for Pay Application No. 31T also

indicated the Project was 99.3 percent complete.




95
   Stipulated Fact “under different phrasing.” Exhibit 2318, HANO Notice of Date of Full Availability to
HUD dated 2/29/16.
96
   Exhibit 759, Clayton email to Parkcrest dated 1/6/16.
97
   Exhibit 613, Parkcrest internal spreadsheet for punchlist inspection requests dated 6/9/16.
98
   Stipulated Fact.
                                                  33
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 34 of 85



(172) On April 20, 2016, HUD determined that the Project had achieved DOFA on

December 31, 2015. 99


(173) On May 6, 2016, Clayton attempted to inspect Buildings 1-5, but did not make it

past the exterior of Building 1 after noticing deficiencies.


(174) HANO and Perez did not complete most of the punch list inspections until May 9,

2016.


(175) On May 17, 2016, after making little to no progress with HANO to get the Project

accepted, Liberty informed HANO by letter that it considered the Project to be substantially

complete. 100


(176) On or about May 20, 2016, HANO stated that it refused to accept the Project as

substantially complete. 101


(177) On May 26, 2016, Perez executed the Architect’s Certificate for Payment for Pay

Application No. 33T recommending payment in the amount of $25,959.74 for the

Project. 102


(178) Perez’s Architect’s Certificate for Payment for Pay Application No. 33T indicated

the Project was 99.68 percent complete. 103




99
   Stipulated Fact.
100
    Stipulated Fact; Exhibit 2302, Liberty letter to HANO dated 5/17/16; Dominguez testimony.
101
    Stipulated Fact.
102
    Stipulated Fact.
103
    Exhibit 455, at 423, Pay Application 33T.
                                                   34
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 35 of 85



      A. The June 9, 2016 Punchlists and the Red Line Items


(179) On June 9, 2016, Clayton sent a letter to HANO stating that he was unable to grant

substantial completion. 104


(180) On June 9, 2016, Clayton reissued punchlists for ten (10) of the buildings and

provided, for the first time, punch lists for the remaining sixteen (16) buildings. 105


(181) Liberty and Parkcrest’s expert architect with a specialty in publically-owned, multi-

family housing design and contract administration, Jerry Watts, opined that the long delay

in issuing these punchlists was a breach in the standard of care and that architects normally

issue punch lists within seven to ten days after inspection is performed. 106


(182) Parkcrest’s expert in schedule analysis and construction, Tom Finnegan, opined

that “HANO/Perez’s delayed issuance of punchlist documents was the critical driver of

delay between [Parkcrest’s] receipt of Final Certificates of Occupancy and Completion

from the City of New Orleans in November and December and the June 29, 2016

termination.” 107


(183) The June 9, 2016 punchlists consisted of approximately 700 pages of allegedly non-

conforming items.




104
    Stipulated Fact.
105
    Exhibit 417, Punchlist dated 6/9/15.
106
    Exhibit 2323, Watts Report, at 8.
107
    Exhibit 2324, Finnegan Report, at 3 ¶ 13.
                                                35
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 36 of 85



(184) The “red line items” – items listed in red font in the June 9, 2016 punchlists -

constituted the exclusive list of items that HANO claims prevented it from granting

substantial completion. 108


(185) The June 9, 2016 punchlists were vague, repetitive, and contained many items that

had already been completed by Parkcrest prior to June 2016. 109


(186) The red line items did not prevent substantial completion because either all the

corrective work had been completed prior to June 2016, the City had accepted the work, or

the items would not have otherwise prevented the intended use of the units, i.e.,

occupancy. 110


(187) Upon notification of non-complying work, Parkcrest and Liberty immediately

developed a plan of action and quickly corrected the non-complying issues. 111




108
    See Rec. Doc. 467, Order Granting Liberty’s Motion in Limine to Limit HANO’s Use of Non-Red Items
(Rec. Doc. 235) and Parkcrest’s Motion in Limine on Punch List Items (Rec. Doc. 233); see also Rec. Doc.
206, Order on Motion to Compel. Items that are not red line items, and therefore did not prevent HANO
from granting substantial completion, include HVAC issues and final DPW acceptance.
109
    Stewart testimony; Exhibit 2323, Watts Report at 6-8. Watts opined that Perez wrongly listed a multitude
of items on the June 9, 2016 punchlists including: hardiplank siding work, water heater stands, front porch
balcony edge and fascia lights, plumbing and mechanical issues (HVAC grilles/registers, air balance, dirt in
water lines, insulate attic water lines), electrical issues (missing panel, load centers, missing light and
receptacles, GFI outlets, breakers).
110
    Exhibit 2323, Watts Report at 9, 10. For example, the following red line items were either completed
prior to June 2016, accepted by the Authorities with Jurisdiction prior to June 2016, or otherwise would not
have prevented or interfered with occupation of the units: issues with step handrail height being inconsistent
or out of allowable range; issues with the step riser height or tread depth being non-compliant with the code;
missing electrical outlets; UFAS (Uniform Federal Assessability Standards) issues of non-compliant sink
aprons and wall cabinet heights; incorrect porch slope; bar top height measured at 34 1/8” on living room
side; building envelope voids; water heater function; issues involving the interior stairs being code non-
complaint; gas function; and handrail installation.
111
    Stewart Testimony; Watts Testimony and Report.
                                                     36
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 37 of 85



(188) The Contract Document Specifications provide that the General Contractor, at his

option, may turn over portions of the work in phases. HANO and Perez wrongfully denied

Parkcrest and Liberty this option.


(189) On June 13, 2016, HANO inquired as to whether Liberty would extend insurance

and security for the Project. 112


(190) On June 14, 2016, Liberty sent HANO a letter in which Liberty reaffirmed its

position that the Project was substantially complete, 113 however, Liberty agreed to extend

insurance and security for the Project through July 1, 2016. 114


(191) Parts of the Project to be dedicated for public use – such as streets, curbs, catch

basins, sidewalks, and streetlights – require DPW acceptance. ILSI is required to inspect

and provide a recommendation to the DPW regarding whether the DPW should accept the

streets and other site work on the Project (“DPW Site Work”).


(192) Ronald Shumann, an ILSI engineer, performed the inspection in June 2016 for the

DPW Site Work and created a punchlist (the “ILSI punchlist”) with items that he identified

as not meeting the contract construction plans and specifications or otherwise deficient in

some manner. 115




112
    Exhibit 246, HANO email to Liberty dated 6/13/16.
113
    Stipulated Fact.
114
    Exhibit 421, Liberty letter to HANO dated 6/14/16.
115
    Exhibit 426, Shumann email to Clayton with punch list dated 6/22/16. The ILSI punchlist items included
nonconforming sidewalk intersections, ADA ramps at street intersections, curbs, gutters, catch basins, street
work, driveways, sidewalks, and grading of the site.
                                                    37
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 38 of 85



(193) Based on the ILSI punchlist, Shumann did not recommend acceptance to the DPW

and broadly estimated the cost to complete the ILSI punch list at $500,820.00. 116


(194) Liberty received the ILSI punchlist and the punchlist for building 7 on June 22,

2016. 117


(195) On June 30, 2016, HANO directed Liberty by letter to relinquish keys and control

of the Project to HANO. 118


(196) On June 30, 2016, HANO terminated Liberty and Parkcrest from the Project. 119


(197) Prior to terminating Liberty, HANO did not inquire as to whether Liberty would

extend insurance and security for the Project as it had previously. 120


(198) In fact, approximately two weeks earlier, on June 15, 2016, HANO determined that

it would not allow Liberty to extend insurance and security for the Project again. 121 Liberty

had no knowledge of that decision. 122


(199) HANO has not paid Liberty or Parkcrest in full for the work performed on the

Project through June 30, 2016.




116
    Exhibit 426 at bates 5013, Shumann email to Clayton with punch list dated 6/22/16. Exemplifying some
of the strange circumstances surrounding this case, testimony revealed that a DPW representative performed
an inspection of the DPW Site Work and subsequently sent Parkcrest/Liberty an email stating that DPW had
accepted the streets. However, this email failed to comply with the formalities for DPW acceptance.
117
    However, by Court order, DPW acceptance was not required for substantial completion because it was
not a red line item nor did it prevent the units from being inhabited as intended. See supra note 108.
118
    Stipulated Fact; Exhibit 81, HANO termination letter to Liberty dated 6/29/16.
119
    Exhibit 81, HANO termination latter to Liberty dated 6/29/16.
120
    Exhibit 430, Liberty response to termination letter.
121
    Exhibit 420, HANO email dated 6/15/16.
122
    Dominguez testimony.
                                                   38
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 39 of 85



(200) HANO refused to accept the Project as substantially complete on or before June 30,

2016. 123


(201) Watts opined that the Project was substantially complete in December 2015,

“certainly on or before June 30, 2016”, and that HANO/Perez wrongfully denied granting

substantial completion. 124


(202) The Court finds that the Project was substantially complete by December 31, 2015.


(203) Parkcrest and Liberty dutifully prosecuted the work at all times.


(204) The testimony and evidence revealed that HANO became nearly impossible to

satisfy, at least as Parkcrest and Liberty were concerned.


(205) Some of the punchlist items that HANO claimed prevented substantial completion

bordered on the ridiculous. For example, one punchlist item stated that an electrical outlet

did not function. However, witness and expert testimony revealed that the outlet merely

needed to be reset and the solution was the equivalent to pushing a button. 125 Another item

stated that there was an open “J” box in the attic of one of the units. Not only was this item

corrected before the City Inspections in December 2015, but it was unreasonable for it to

be considered an item that would prevent occupancy because the correction simply

required adding a simple cover to the box. Additionally, one punchlist item was that the

gas lines were not operational. 126 Stewart testified that the gas had been turned off as a



123
    Stipulated Fact.
124
    Exhibit 2323, Watts Report, at 9.
125
    Exhibit 417, at 36; see also Stewart Testimony.
126
    Exhibit 417, at 7 and 319.
                                                      39
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 40 of 85



safety precaution while the Project was still under construction. All that was required to

remedy this item was merely turning a valve and it should not have been included as a

punchlist item.


(206) Watts testified that the architect’s contract administration and the owner’s

contributions to the Project impeded Parkcrest’s efforts and ability to complete the work. 127


(207) HANO’s efforts were often unhelpful, vague, and overly burdensome, which made

Parkcrest and Liberty’s efforts to finalize the Project more difficult, time-consuming, and

unreasonably tedious. For example, throughout the June 9, 2016 punchlists, Perez/HANO

would often list a general item or defect, such as a window or a tile, without giving

Parkcrest any idea about which window or tile to which it was referring. 128 Stewart

testified that these vague descriptions required Parkcrest to check every single window or

tile and that he often found that that these defects did not exist at all. With respect to the

concrete steps, when Parkcrest received the June 9, 2016 punchlists, it undertook a

“monumental effort” to survey and try to comply with the measurements on every step and

riser on the Project. ILSI/Perez complained that the concrete steps were not uniform and

were required to have a 6” riser and 11” tread. 129 Watts opined that the code established a

maximum riser height for residential steps at 7 ¾” and a minimum tread depth of 10”,

which properly takes into account varying jobsite conditions. 130 Nevertheless, Parkcrest

produced a detailed spreadsheet of the entire site, identified all the riser heights, and




127
    Watts testimony.
128
    See Exhibit 417, at 288, 291.
129
    See 10/22/13 report 90 from ILSI.
130
    Exhibit 2323, Watts Report, at 4.
                                             40
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 41 of 85



corrected or was in the process of correcting the non-conforming steps prior to the June

2016 termination. Thirty-one of these corrections were 1/8” or less and the majority of the

other corrections were ¼” inch or less. Additionally, Kennedy testified that he spent two

hours each day creating daily field reports with detailed updates on the progress of

Parkcrest’s work and corresponding photographs. However, Kennedy failed to share a

single one of these field reports with Parkcrest. Stewart testified that such reports would

have better identified HANO’s issues and greatly assisted Parkcrest’s completion of the

Project.


(208) Generally, an item that has been approved and certified by the architect for payment

by the owner should not be rejected. According to Watts, the subsequent rejection of

approved items demonstrates an unacceptable standard of care in the project design and

contract administration.


(209) The manner and extent to which HANO enforced certain contract provisions and

compliance with the code was unreasonable and overly burdensome under the

circumstances. HANO determined that items that were not in strict compliance with the

code prevented substantial completion despite the fact that the City, the Authority with

Jurisdiction over code issues, had already approved of them. Testimony established that

the only reason for an owner to enforce the code is to ensure that the Project will pass City

inspections and not prevent Certificates of Occupancy from being obtained. 131 Moreover,




131
      There was no evidence that any non-code compliant work created a potential life or safety hazard.


                                                      41
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 42 of 85



even when items complied with the code, HANO demanded strict compliance with certain

contract specifications that, like demanding code compliance for items that had already

passed City inspection, served no justifiable purpose. For example, HANO required a

consistent 36” height on all handrails. The code allows for a 34” minimum and 38”

maximum height which, as expert testimony revealed, reflects normal construction

tolerances and allows slight exceptions to exact dimensions. 132 Parkcrest specifically

confirmed with the architect that a handrail height between 34” and 38” would be

acceptable on the Project per the code regulation. 133 However, subsequently, HANO

decided to enforce the contract documents requiring consistent heights of 36” and Clayton

deferred to HANO’s decision. 134            Watts opined that strict enforcement of this 36”

measurement in contravention of normal construction tolerances was “excessive.” 135 The

handrails were compliant because they were approved by the City prior to issuing the

Certificates of Occupancy. Stewart testified that he also personally went around the entire

Project and measured every handrail to ensure that they were within the 34” and 38” range.


(210) HANO and Clayton maintained an irregular and questionable relationship as owner

and architectural design professional.            Watts’ expert opinion confirmed that in the

construction industry, it was unusual for the Owner’s representative to dictate instructions

to the design professional on how to approve or reject work. 136 The record reveals that

HANO usurped the role of the design professional at many critical moments on the Project.




132
    Exhibit 2323, Watts Report.
133
    Exhibit 594, Mark Clayton email to Parkcrest dated 12/19/14.
134
    Stewart testimony.
135
    Exhibit 2323, Watts Report, at 5.
136
    See Clayton testimony; Exhibit 2323, Watts Report, at 5.
                                                   42
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 43 of 85



For example, HANO generally requested to review meeting minute entries before Clayton

forwarded them to the rest of the construction team. 137 In one particular instance, Kennedy

directed Clayton to “be very careful with the language pertaining to Entergy work” in the

meeting minutes because Kennedy expected that Parkcrest was going to use it as a part of

a delay claim. 138 Other instances include Kennedy drafting the June 9, 2016 letter for

Clayton to send to Parkcrest stating that he could not grant substantial completion;

Kennedy instructing Clayton as to which punchlists he should release to Parkcrest and

which ones he should hold back; 139 Kennedy providing Clayton with the protocol for

certain concrete placement, which Clayton then copied and pasted into a document with

the Perez letterhead; 140 and Kennedy drafting an email regarding the punch list process,

which Clayton copied and pasted nearly verbatim before forwarding it to Parkcrest. 141


(211) It was unnecessary for Parkcrest to file official delay claims against HANO because

the record demonstrates that the weekly OAC meetings and multitude of communications

between the parties provided HANO with sufficient notice of any delays. 142


      VI.    HANO and Colmex Contract to Complete


(212) Following the termination of Liberty, HANO sought to relet the Project.




137
    Exhibit 296, Kennedy email to Clayton dated 7/8/15.
138
    Exhibit 239, Kennedy email to Clayton dated 10/9/14.
139
    Exhibit 244, Kennedy email to Perez dated 6/9/16; Exhibit 417, Punchlists dated 6/9/16.
140
    Exhibit 1673, Kennedy email to Clayton dated 10/24/13.
141
    Exhibit 405, Clayton email to Parkcrest dated 4/20/16; Exhibit 406, Kennedy email to Clayton dated
4/20/16.
142
    Stewart also testified that Parkcrest did not file an official delay claim against HANO in the interest of
encouraging a harmonious and collective effort to simply finish the Project as soon as possible.
                                                     43
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 44 of 85



(213) HANO began culling down the punchlists issued to Parkcrest/Liberty to develop a

revised scope of work for prospective bidders.


(214) On August 12, 2016, HANO issued the “Invitation for Bids for Completion and

Corrective Work at Florida Avenue New Affordable Housing Unites, IFB # 16-912-41,”

(“Re-bid Documents”). 143


(215) HANO accepted Colmex Construction, LLC’s (“Colmex”) bid, having received no

other bids. 144


(216) On October 4, 2016, HANO and Colmex executed a contract for the “Completion

and Corrective Work at Florida New Affordable Housing Units,” Contract No.: 16-912-41

(the “Colmex Completion Contract”), in the amount of $1.7 Million.145


(217) On November 16, 2016, Colmex was directed to proceed with the work on the

Project. 146


(218) No work was performed on the Project between July 1, 2016 and November 15,

2016, a period of over four months. 147


(219) HANO and Colmex executed Change Order No. 1, dated November 16, 2016, in

which the Colmex Completion Contract time was extended by eight (8) days. 148




143
    Stipulated Fact.
144
    Stipulated Fact.
145
    Stipulated Fact.
146
    Stipulated Fact; Exhibit 87, Colmex Notice to Proceed dated 11/15/16.
147
    Adams testimony.
148
    Stipulated Fact.
                                                   44
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 45 of 85



(220) HANO issued Change Order No. 1 because Colmex needed additional time to

obtain payment and performance bonds for the Project. 149


(221) HANO allowed for phased substantial completion in connection with Colmex’s

work on the Project. 150


(222) On March 25, 2017, HANO issued a certificate of substantial completion to Colmex

in connection with Colmex’s work on the Project. 151


(223) The record shows that HANO relaxed its requirements for Colmex to achieve

substantial completion by moving certain items to the final completion phase.


(224) When HANO granted substantial completion to Colmex on March 25, 2017,

HANO did not require that Colmex obtain final approval of streets, catch basins, sidewalks,

curbs, ADA ramps, street lights and/or street signage from the DPW. 152


(225) On or about April 6, 2017, Change Order No. 3 was executed after additional “latent

defects” were discovered by Colmex during its work on the Project. Change Order No. 3

increased the Colmex Completion Contract by $111,990.25 bringing the total cost to

$1,779,908.85. 153




149
    Stipulated Fact.
150
    Stipulated Fact.
151
    Stipulated Fact; Exhibit 450, G704 Certificate of Substantial Completion dated 3/25/17.
152
    Stipulated Fact “under difference phrasing.”
153
    Exhibit 2375, Colmex Change Order No. 3 dated 4/6/17.

                                                    45
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 46 of 85



(226) HANO paid Colmex nearly $1.8 Million to complete a Project that was 99 percent

complete on June 30, 2016.


(227) As of the date of trial, the Project had still not reached final completion because

DPW has not accepted the work on the Project.


                               CONCLUSIONS OF LAW


        Civil Action No. 15-1533: The Principal Action (Parkcrest v. HANO)


(1)    The substantive law of Louisiana applies in this matter. Klaxon Co. v. Stentor Elec.

Mfg. Co., 313 U.S. 487 (1941); Erie R.R. Co. v. Tompkins, 304 U.S. 64 (1938).


(2)    The terms of the Prime Contract and the Takeover Agreement form the law between

the parties. Corbello v. Iowa Prod., 850 So. 2d 686, 693 (La. 2003); see also Luv N' Care,

Ltd. v. Groupo Rimar, 844 F.3d 442, 447 (5th Cir. 2016) (citing Barrera v. Ciolino, 636 So.

2d 218, 222 (La. 1994)).


(3)    Because the terms of the Prime Contract and the Takeover Agreement are clear and

unambiguous, Louisiana law requires that they be interpreted according to their terms

without further inquiry as to the parties’ intent. Frischhertz Elec. Co.. Inc. v. Housing Auth.

of New Orleans, 534 So. 2d 1310, 1312 (La. App. 4 Cir. 1988), writ denied. 536 So. 2d

1236 (La. 1989); see also La. Civ. Code art. 2046.




                                             46
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 47 of 85



      I.      The Termination of Parkcrest – April 10, 2015


(4)        The clear and unambiguous language of Clause 32 of the Prime Contract, which

provides that Parkcrest’s right to proceed shall not be terminated or Parkcrest charged with

damages under this clause if the delay in completing the work arises from unforeseeable

causes beyond the control and without the fault or negligence of Parkcrest, must be enforced

as written. See e.g., Roger Johnson Const. Co. v. Bossier City, 330 So. 2d 338, 340 (La.

App. 2d Cir. 1976) (applying “[t]o unforeseeable cause beyond the control and without the

fault or negligence of the Contractor” as written).


(5)        Because HANO claims the right to terminate Parkcrest, notwithstanding the

language of Clause 32 of the Prime Contract, HANO bears the burden of proving that its

termination of Parkcrest was proper. F.H. Paschen, S.N. Nielsen & Assocs., LLC v. Se.

Commercial Masonry, Inc., 2015 WL 7015389, at *2 (E.D. La. Nov. 12, 2015) (citing

Vignette Publications, Inc. v. Harborview Enterprises, Inc., 799 So. 2d 531, 534 (La. App.

4 Cir. 2001)) (“The burden of proof in an action for breach of contract is on the party

claiming rights under the contract.”).


(6)        Generally, the Court finds Liberty and Parkcrest’s witnesses more credible and

gives their testimony greater weight than HANO’s witnesses. For example, DeHarde and

Kennedy repeatedly insisted at trial that HANO was not responsible for a single day of

delay despite the fact that even HANO’s own internal discussions state otherwise.154



154
  On July 7, 2014, DeHarde and Kennedy stated in a memorandum that the Project was 21 days behind
schedule due to the Entergy delays. See Exhibit 2314, Entergy Memorandum dated 7/4/14; see also Exhibit
2374, Kennedy email dated June 20, 2014, acknowledging that Parkcrest cannot proceed with its work
                                                  47
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 48 of 85



Furthermore, at trial Kennedy demonstrated a general lack of knowledge and experience

with respect to a construction project of this magnitude and complexity. 155 Stewart, on the

other hand, demonstrated a thorough understanding of the events and complicated

construction issues at play. 156


(7)      The Court also gives significant weight to Parkcrest and Liberty’s highly qualified

expert witnesses in this complex construction litigation. 157


(8)      Entergy constituted a separate prime contract with HANO as a matter of Louisiana

law. Executive House Building, Inc. v. Demarest, 248 So. 2d 405, 410 (La. App. 4 Cir.

1971) (“The word ‘contractor,’ as used in connection with the building trades, means the

person who contracts directly with the owner of the property to erect or construct a building

or other structure or improvement belonging to the owner.”).


(9)      As a result of using two prime contractors – Entergy and Parkcrest – HANO owed

Parkcrest an implied duty of cooperation and non-hinderance so that the work between the

two of them could be effectively coordinated. 5 Bruner & O'Connor Construction Law §




because of the Entergy delays, that this work is critical, and that HANO will incur delay claims if the Entergy
does not deliver soon.
155
    At one point during cross-examination, Kennedy was unable to read certain civil infrastructure plans, the
accuracy of which were critical to delay issues in this case.
156
    Stewart also testified that he has experience on similar projects and has never not finished a project prior
to this one.
157
    The expert witnesses included Jerry Watts, Liberty and Parkcrest’s expert architect with a specialty in
publically-owned, multi-family housing design and contract administration; Tom Finnegan, Parkcrest’s
expert in schedule analysis and construction; and Lin Heath, Liberty and Parkcrest’s expert and certified cost
professional. At trial, the Court excluded the testimony and report of James Brandon English, who HANO
offered as a civil and structural engineering expert regarding the project schedule, the coordination of the
construction, and substantial completion. The Court determined that there were several problems with
allowing Mr. English’s testimony including HANO’s failure to comply with the Court’s Scheduling Order
and the fact that Mr. English did not have the expertise to opine on the main issues for which he was being
tendered.
                                                      48
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 49 of 85



15:55 (“The owner's implied duties of cooperation and nonhindrance demand the owner's

active and affirmative exercise of its contract rights under all of the prime contracts in order

to coordinate and facilitate timely completion of the project.”); see also Nat'l Safe Corp. v.

Benedict & Myrick, Inc., 371 So. 2d 792, 795 (La. 1979) (“[N]ot all obligations arising out

of contract need be explicitly stated. Into all contracts, therefore, good faith performance is

implied. Furthermore, everything that by equity is considered incidental to the particular

contract, or necessary to carry it into effect, is also a part of all agreements.”).


(10)    HANO breached this duty by: (1) failing to timely execute the ROW Agreement

with Entergy; (2) then giving Entergy longer than Parkcrest’s September 14, 2014

completion date to begin and complete Entergy’s work; and (3) failing to have Entergy start

its work at an earlier time. Id.


(11)    HANO’s failures with respect to Entergy also caused unforeseen delays to the

Project within the meaning of Clause 32 of the Prime Contract that were beyond the control

and without the fault or negligence of Parkcrest. See Katz v. Judice, 252 So. 2d 532, 538

(La. App. 4 Cir.), writ denied, 259 La. 1049, 254 So. 2d 461 (1971) (“In the present case it

would appear that the actions of the plaintiff in creating the situation which originally

delayed performance on the job . . .”); Farnsworth v. Sewerage & Water Bd. of New

Orleans, 139 So. 638 (La. 1932) (finding that contractor's delay in completing job of

improving drainage pumping station for sewerage board was caused by the board, for which

contractor could not be penalized under contract).


(12)    Accordingly, each day of delay to the Project caused by HANO is “excused.” Id.;

see also Sitman & Burton v. Lindsey, 48 So. 646, 646 (La. 1908)(“Plainly a party cannot
                                         49
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 50 of 85



claim damages for a default which his own default has caused, or for the nonperformance

of a contract with reference to which he himself is in default.”).


(13)   The clear and unambiguous language of Clause 32 of the Prime Contract, which

provides that delays arising out of acts of HANO and acts of another contractor in the

performance of a contract with HANO constitute unforeseeable causes beyond the control

and without the fault or negligence of Parkcrest, must be enforced as written. 5 Bruner &

O'Connor Construction Law § 15:55 (“Where an owner, by itself or through a construction

manager acting as the owner's agent, awards multiple prime contracts for the construction

of a project, the owner retains responsibility to coordinate the work of all contractors and,

unless otherwise clearly provided in the contract, is liable for delay caused by one contractor

to another.”).


(14)   Entergy, as a separate contractor in the performance of its contract with HANO,

caused unforeseen delays to the Project by (1) delaying the start of its work on the Project,

and (2) delaying its design of the Project’s electrical infrastructure, within the meaning of

Clause 32 of the Prime Contract that were beyond the control and without the fault or

negligence of Parkcrest. Id.


(15)   Entergy’s delay in supplying temporary power to the Project caused unforeseen

delays to the Project within the meaning of Clause 32 of the Prime Contract that were

beyond the control and without the fault or negligence of Parkcrest. See e.g., King Bros.

Bldg. Contractors v. McCullen, 393 So. 2d 413, 415 (La. App. 1 Cir. 1980) (finding that the

unavailability of certain material caused delay not the fault of the contractor).


                                             50
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 51 of 85



(16)    Perez’s Contract with HANO obligated it to (1) “prepare and deliver . . . all major

elements of the building(s), and site design(s)” on the Project; and (2) “make and

independent assessment of the accuracy of the information provided by the Owner

concerning existing conditions” for the Project, and these unambiguous terms should be

applied as written.


(17)    The unambiguous definition of “Architect” in the Prime Contract, which stated that

“[t]he Architect shall serve as a technical representative of the Contracting Officer,” vested

Perez with the authority to act on HANO’s behalf, and should be applied as written.


(18)    Perez also owed a duty to Parkcrest and Liberty to take reasonable steps to ensure

the Project plans and specifications were as accurate as possible. Standard Roofing

Company of New Orleans v. Elliot Construction Co., 535 So. 2d 870 (La. App. 1 Cir. 1988),

writ denied, 537 So.2d 1166, 1167 (La. 1989) (“An architect is deemed to know that his

services are for the protection of the owner's interest, as well as the protection of other third

parties who have no supervisory power whatsoever and must rely on the architect’s expertise

in providing adequate supervision, plans, and specifications.”).


(19)    Perez breached its duty to Parkcrest and Liberty, as the utility tie-ins for the Project

were not located where they were depicted on Civil Site Drawings, C3.00 and C3.20, and

no evidence has been adduced that Perez took any steps to ensure the accuracy of its plans

in this regard despite actual knowledge that the utility tie-ins would likely not be located

where Perez had indicated. See Milton J. Womack, Inc. v. House of Representatives of State,

509 So. 2d 62, 67 (La. App. 1 Cir. 1987) (architect held liable to general contractor for

failing to discover hidden condition at site for inclusion in its plans, despite actual
                                         51
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 52 of 85



knowledge that the information the accurate had relied upon in producing its plans was

likely inaccurate).


(20)    The Project was substantially hindered by the fact that it was not supervised by a

qualified architect. Clayton testified that he was not, and never has been, a licensed

architect. The record revealed that Clayton was generally ineffective in his role as Project

architect and exacerbated various problems on the Project. 158


(21)    Accordingly, Perez, as HANO’s agent, caused unforeseen delays to the Project

within the meaning of Clause 32 of the Prime Contract that were beyond the control and

without the fault or negligence of Parkcrest. Cupit v. Hernandez, 48 So. 3d 1114, 1119 (La.

App. 2d Cir. 2010) (“A contractor is not the guarantor of the sufficiency of plans and

specifications drawn by another, and if he complies with those plans and specifications, he

is entitled to immunity under La. R.S. 9:2771.”).


(22)    At the very least, the differing site conditions as between the utility tie-ins depicted

on Civil Site Drawings, C3.00 and C3.20 and their actual location at the Project site caused

unforeseen delays to the Project within the meaning of Clause 32 of the Prime Contract that

were beyond the control and without the fault or negligence of Parkcrest. Id.; see also Luria



158
    The issues concerning Clayton’s performance were also recognized by HANO. An internal email dated
September 4, 2015 revealed that HANO found portions of Perez’s work on the Project deficient, stating that
the meeting minutes, inter alia, were consistently issued at the last minute and lacking in detail, the RFI
responses were often incomplete, and “ [Clayton] has not had the time to perform reviews of the Work.” See
Exhibit 288. In a subsequent email dated September 30, 2015, HANO discusses the draft of a letter to Perez
requesting that supplemental forces be sent to assist Clayton because “it is obvious that he is often
overwhelmed and could use some help.” See Exhibit 287.



                                                    52
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 53 of 85



Bros. & Co. v. U.S., 369 F.2d 701 (1966) (low bearing capacity of soils discovered during

foundation excavation resulted in delay due to foundation redesign and "trial and error"

excavation method by which suitability of soils was verified).


(23)    HANO’s agent, ILSI, also caused unforeseen delay to the Project within the meaning

of Clause 32 of the Prime Contract in its delayed response to RFI No. 51 that was beyond

the control and without the fault or negligence of Parkcrest. See Popich v. Fid. & Deposit

Co. of Md., 231 So. 2d 604, 613 (La. App. 4 Cir. 1971) (finding in part that project was

delayed as a result of owner’s rejection and reorder of certain materials, which was not the

fault of the contractor).


(24)    SWB’s delay in approval of the revised Civil Site Drawings, C3.00 and C3.20 until

September 3, 2014 also caused unforeseen delays to the Project within the meaning of

Clause 32 of the Prime Contract that were beyond the control and without the fault or

negligence of Parkcrest. See e.g., Farnsworth, 139 So. at 638 (delays caused by sewerage

board are not the fault of the contractor).


(25)    To the extent HANO contends the foregoing claims of delay were not properly

preserved under the notice provision of Clause 32 of the General Conditions, HANO waived

the ability to rely on the notice provision through its consistent actions acknowledging the

existence of the foregoing delays. Nat Harrison Assocs., Inc. v. Gulf States Utilities Co.,

491 F.2d 578, 583 (5th Cir. 1974) (citing Pamper Corporation v. Town of Marksville, 208

So.2d 715 (La. App. 3d Cir. 1968)) (noting that “a written notice provision in a contract

may be waived” in Louisiana where “the consistent actions of the two parties may be found

to constitute a ‘waiver’ of this provision.”).
                                                 53
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 54 of 85



(26)   To the extent HANO contends the foregoing claims of delay were not properly

preserved under the notice provision of Clause 32 of the General Conditions, such an

interpretation of the Prime Contract violates La. Rev. Stat. § 38:2216(H). See La. Rev. Stat.

§ 38:2216(H) (“Any provision contained in a public contract which purports to waive,

release, or extinguish the rights of a contractor to recover cost damages, or obtain equitable

adjustment, for delays in performing such contract, if such delay is caused in whole, or in

part, by acts or omissions within the control of the contracting public entity or persons acting

on behalf thereof, is against public policy and is void or unenforceable.”).


(27)   The clear and unambiguous language of Clause 32 of the Prime Contract, which

provides that if after Parkcrest is terminated, it is determined that Parkcrest was not in

default, or that the delay was excusable, the rights and obligations of the parties will be the

same as if the termination had been for convenience, must be enforced as written. See

Parkcrest Builders, LLC v. Hous. Auth. of New Orleans, No. 16-14118, 2017 WL 3394033,

at *3 (E.D. La. Aug. 8, 2017)(applying Clause 32 of the Prime Contract as written).


(28)   Because the delays caused by Entergy on the Project were excusable, Parkcrest was

not in default on September 15, 2014 when HANO placed it in default, by operation of

Clause 32 of the Prime Contract.


(29)   Because the delays caused by HANO, either directly or through its design

professional on the Project were excusable, Parkcrest was not in default on September 15,

2014 when HANO placed it in default, by operation of Clause 32 of the Prime Contract.




                                              54
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 55 of 85



(30)   Because the delays caused by SWB on the Project were excusable, Parkcrest was

not in default on September 15, 2014 when HANO placed it in default, by operation of

Clause 32 of the Prime Contract.


(31)   The delayed redesign of the kitchen outlets; delayed installation of the Project’s gas

meters by Entergy; and delayed roof vents caused unforeseen delays to the Project within

the meaning of Clause 32 of the Prime Contract that were beyond the control and without

the fault or negligence of Parkcrest.


(32)   In accordance with Clause 32 of the Prime Contract, because the delays to the Project

were excusable (including the delays caused by the delayed redesign of the kitchen outlets;

delayed installation of the Project’s gas meters by Entergy; and delayed roof vents on the

Project), Parkcrest was not in default on April 10, 2015 when HANO placed it in default

and terminated it from the Project.


(33)   Because Parkcrest was not actually in default when HANO placed it in default,

Parkcrest’s termination must be converted to one for convenience by operation of Clause

32 of the Prime Contract.


(34)   The clear, unambiguous language of Clause 33 of the Prime Contract, which

provides that to the extent that Parkcrest’s delay or nonperformance is excused under

another clause in the Prime Contract, liquidated damages shall not be due to HANO, must

be applied as written. Frischhertz Elec. Co.. Inc., 534 So. 2d at 1312; see also La. Civ. Code

art. 2046.




                                             55
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 56 of 85



(35)   Because Parkcrest’s delays were excused under Paragraph 32 of the Prime Contract,

HANO is not due liquidated damages stemming from its default of Parkcrest on September

15, 2014, by operation of Clause 33 of the Prime Contract. See La. Civ. Code art. 2008 (“An

obligor whose failure to perform the principal obligation is justified by a valid excuse is also

relieved of liability for stipulated damages.”).


(36)   The clear, unambiguous language of Clause 34 of the Prime Contract, which

provides that, in the instance of a termination for convenience, HANO is liable to Parkcrest

for the reasonable and proper costs resulting from such termination, must be applied as

written. Frischhertz Elec. Co.. Inc., 534 So. 2d at 1312; see also La. Civ. Code art. 2046.


(37)   As a matter of Louisiana law, Clause 32 of the Prime Contract is void and

unenforceable to the extent it waives, releases or extinguishes Parkcrest’s delay claims if

HANO, or those acting on HANO’s behalf, contributed in whole or in part to the claimed

delays. See La. Rev. Stat. § 38:2216(H) (“Any provision contained in a public contract

which purports to waive, release, or extinguish the rights of a contractor to recover cost

damages, or obtain equitable adjustment, for delays in performing such contract, if such

delay is caused in whole, or in part, by acts or omissions within the control of the contracting

public entity or persons acting on behalf thereof, is against public policy and is void or

unenforceable.”).


(38)   As a result of the prohibition against the contractual waiver of claims in La. Rev.

Stat. § 38:2216(H), HANO is precluded from asserting that Parkcrest is not entitled to

extensions of time or other equitable adjustment for concurrent delays. Parkcrest may still

assert claims for additional time as a result of delays to the Project that were contributed to
                                              56
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 57 of 85



in part or in whole by HANO, or those acting on its behalf, notwithstanding the fact that

Parkcrest may have contributed to the delay as well.


(39)   Moreover, HANO, as the party seeking to recover delay damages, has an affirmative

duty to show that its actions did not constitute a concurrent cause for the delays. James

Construction Group, L.L.C. v. State, Department of Transportation and Development, 977

So. 2d 989, 995 (La. App. 1 Cir. 2007) (“Our thorough examination of the documentation

offered in support of DOTD's motion for partial summary judgment fails to support JCG's

assertion that genuine issues of material fact exist as to DOTD's contribution to the delays

that occurred in the project. To the contrary, DOTD's supporting documents establish that

the delays for which stipulated damages were assessed against JCG were not attributable to

DOTD.”); see also Blinderman Const. Co. v. United States, 695 F.2d 552, 559 (Fed. Cir.

1982) (quoting Coath & Goss, Inc. v. United States, 101 Ct. Cl. 702, 714–15 (1944);

Commerce International Co. v. United States, 338 F.2d 81, 90 (1964)) (“Where both parties

contribute to the delay ‘neither can recover damage, unless there is in the proof a clear

apportionment of the delay and the expense attributable to each party.’”).


(40)   HANO cannot carry this burden, as its actions, or the actions of those acting on its

behalf, constituted at a minimum, a concurrent cause for the Project delays. Id.


(41)   An owner waives its right to reject or is estopped from rejecting any work

subsequent to inspection and approval by its representatives. See e.g., P. Oliver & Son v.

Bd. of Com’rs of Lake Charles Harbor and Terminal Dist., 148 So. 12 (La. 1933). Here,

HANO and/or its representatives closely monitored, inspected, and approved of Parkcrest’s

work at various junctures only to subsequently reject the same work later in the Project.
                                          57
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 58 of 85



HANO’s subsequent rejection of this work led to extreme inefficiencies, delays, and

increased costs. HANO hired another contractor (Colmex) to perform much of the same

work which HANO initially accepted and then belatedly rejected. HANO may not rely on

such work as evidence of a failure to reach substantial completion.


(42)     To the extent any delay to the Project is deemed a concurrent delay, HANO’s

termination of Parkcrest’s right to proceed with the work on April 10, 2015 constituted a

breach of the Prime Contract.


(43)     In regards to Parkcrest’s claim that HANO is liable to it for the reasonable and proper

costs resulting from its wrongful termination as provided in Paragraph 34 of the Prime

Contract, Parkcrest has failed to present any evidence to support the existence or amount of

those costs. As such, Parkcrest is not entitled to recover any costs as a result of the wrongful

termination.


   II.      The Termination of Liberty – June 30, 2016


(44)     Because HANO’s termination of Parkcrest was wrongful, a breach of the Prime

Contract, and must be considered a termination for convenience, Liberty’s performance

obligations therefore were not triggered under the Bond. Pub. Bldg. Auth. of City of

Huntsville v. St. Paul Fire & Marine Ins. Co., 80 So. 3d 171 (Ala. 2010) (finding that a

termination for convenience by the public entity in that case insufficient to trigger the

surety’s performance bond obligations).


(45)     As a matter of Louisiana law, therefore, HANO is not entitled to damages under the

Takeover Agreement, as enforcing its terms under the circumstances presented herein would
                                              58
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 59 of 85



constitute an unlawful cause. La. Civ. Code art. 1968 (“The cause of an obligation is

unlawful when the enforcement of the obligation would produce a result prohibited by law

or against public policy.”).


(46)       As a result, HANO is not entitled to stipulated damages arising under the Takeover

Agreement. La Civ. Code art. 2006 (“Nullity of the principal obligation renders the

stipulated damages clause null.”).


(47)       Louisiana Revised Statute § 38:2241.1, in turn, defines the meaning of “substantial

completion” as “as the finishing of construction, in accordance with the contract documents

as modified by any change orders agreed to by the parties, to the extent that the public entity

can use or occupy the public works or use or occupy the specified area of the public works

for the use for which it was intended.” La. R.S. § 38:2241.1


(48)       As a matter of Louisiana law, whether the Project achieved “substantial completion”

“is a factual determination to be made by the trial court.” O & M Const., Inc. v. State, Div.

of Admin., 576 So. 2d 1030, 1035 (La. App. 1 Cir. 1991)).


(49)       The test for substantial completion of the Project under La. Rev. Stat. § 38:2241.1

is whether construction has been completed in accordance with the contract documents to

the extent that the Project could be used for its intended purpose as a multi-family residential

dwelling. La. R.S. § 38:2241.1(B). 159




159
      La. R.S. § 38:2241.1(B) provides:

           “Substantial completion” is defined for the purpose of this Chapter, as the finishing of
           construction, in accordance with the contract documents as modified by any change orders
                                                     59
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 60 of 85



(50)    Substantial completion can be obtained prior to final completion and does not

require total satisfaction of the contract specifications. All Seasons Const., Inc. v. Mansfield

Hous. Auth., 920 So. 2d 413, 416 (La. App. 2d Cir. 2006) (citing O & M Const., Inc. v.

State, Div. of Admin., 576 So. 2d 1030, 1035 (La. App. 1 Cir. 1991)) (noting that that

substantial completion “can result even though deficiencies exist.” “The extent of the defect

or non-performance, the degree to which the purpose of the contract is defeated, the ease of

correction, and the use or benefit of the work performed to the owner are all factors that

may be considered to determine when substantial completion occurred.”).


(51)    Strict adherence with the contract specifications pertains to the final completion

phase; the primary consideration for substantial completion, as it is defined in state law and

generally in the industry, is whether it may be used for its intended purpose.


(52)    In the event of a conflict between the terms of the Prime Contract and Takeover

Agreement, the unambiguous terms of the Takeover Agreement provide that the Takeover

Agreement shall prevail, and these terms should be applied as written. Frischhertz Elec.

Co. Inc., 534 So. 2d at 1312; see also La. Civ. Code art. 2046.


(53)    As matter of Louisiana law, the Takeover Agreement could not be terminated once

Liberty had achieved substantial completion of the Project. See La. Civ. Code art. 2014




        agreed to by the parties, to the extent that the public entity can use or occupy the public
        works or use or occupy the specified area of the public works for the use for which it was
        intended. The recordation of an acceptance in accordance with the provisions of this
        Section upon substantial completion shall be effective as an acceptance for all purposes
        under this Chapter.

La. R.S. § 38:2241.1(B).
                                                   60
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 61 of 85



(“A contract may not be dissolved when the obligor has rendered a substantial part of the

performance and the part not rendered does not substantially impair the interest of the

obligee.”).


(54)    Following the issuance of the Certificates of Occupancy, there was no evidence that

any non-code compliant work created a potential life or safety hazard or otherwise prevented

the units from being occupied.


(55)    HANO certified to the U.S. Department of Housing and Urban Development

(“HUD”) that the Date of Full Availability (“DOFA”) of the Project was December 31,

2015. The DOFA is defined under federal regulation as “[t]he last day of the month in

which substantially all (95 percent or more) of the units in a public housing

project are available for occupancy.” 160


(56)    Building codes are enforced by the Authorities having Jurisdiction - here, the New

Orleans Department of Safety and Permits - not by the Owner or Architect. 161


(57)    The Court finds that the Project was substantially complete as of December 31, 2015,

as it could be used for its intended purpose as a multi-family residential dwelling at that

time. The record demonstrates that by December 31, 2015, construction had progressed to

the point that the owner could use the Project for its intended purpose. By December 31,

2015, all 52 units had Certificates of Occupancy and Completion issued by the City.




160
   See 24 CFR § 905.108.
161
   Exhibit 2323, Watts Report, at 10. The Department of Safety and Permits, City of New Orleans, is charged
with administering and enforcing building code ordinances within the city limits. Chapter 7, Home Rule
Charter of the City of New Orleans.
                                                    61
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 62 of 85



December 31, 2015 is also the date that DOFA had been reached as represented by HANO

and confirmed by HUD. Expert testimony also supports a finding of substantial completion

as of December 31, 2015. 162


(58)       HANO breached the Takeover Agreement when it terminated Liberty from the

Project on June 30, 2016 after substantial completion had been achieved. See La. Civ. Code

art. 2014.


(59)       As a result of HANO’s breach of the Takeover Agreement, Liberty’s performance

thereunder is excused, and HANO is not entitled to recover any damages it contends it

incurred to complete the Project after Liberty’s termination. Commerce Ins. Agency, Inc. v.

Hogue, 618 So.2d 1048, 1052 (La. App. 1 Cir. 1993) (“where one party substantially

breaches a contract, the other party to it has a defense and an excuse for nonperformance.”);

Sitman & Burton v. Lindsey, 123 La. 53, 54, 48 So. 646, 646 (1908) (“Plainly a party cannot

claim damages for a default which his own default has caused, or for the nonperformance

of a contract with reference to which he himself is in default.”).


(60)       Any delay in completing the Project during the Takeover period was the result of

unforeseeable causes beyond the control and without the fault or negligence of

Parkcrest/Liberty. See e.g., E. C. Ernst, Inc. v. Manhattan Const. Co. of Texas, 551 F.2d

1026, 1042-1043 (5th Cir. 1977), opinion modified on reh'g, 559 F.2d 268 (5th Cir. 1977)

(designer found liable for delay in rendering interpretation).




162
      Watts Report and Finnegan Report.
                                              62
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 63 of 85



(61)     Whether directly or through its design professional, HANO’s conduct throughout

the Takeover period and the Project as a whole - including, inter alia, its unreasonable and

uncooperative administration of the Project - constituted a prevailing cause of delay to the

Project’s completion. For example, the roof vent design issue was first raised in October

2014, but remained unresolved by HANO/Perez until August 13, 2015, some ten months

later. Parkcrest’s expert in schedule analysis and construction, Tom Finnegan, noted that

Change Order No. 6 gave Parkcrest until mid-November to complete the roof vent redesign

work and that Certificates of Occupancy were issued to two-thirds of the units within days

of that completion. 163 The redesign, which required Parkcrest to cut multiple ridge vents

into the roofs of all 52 units, was only necessary in order to remedy the roof design errors

made by HANO’s design team. Parkcrest had previously installed all 52 roofs based on

these faulty design plans; therefore, this belated, remedial work constituted a substantial

burden on Parkcrest as it attempted to finish the remaining work on the Project. HANO

was fully aware of the significant scope of work that was required to remedy the design

defect. And yet, not only did HANO reject Parkcrest’s request to modify the contract

completion date after it took over ten months to provide Parkcrest with a solution, but the

very next day, on August 14, 2015, HANO placed Liberty/Parkcrest in default.




163
   The language of Change Order No. 6 provides that the roof vent redesign work would not prevent HANO
from granting substantial completion. However, it is axiomatic that a roof is a basic and necessary
consideration in whether a housing unit is suitable for occupancy and that roofs with holes in them would
prevent a finding that the units could be used for their intended purpose. Expert testimony stated that the
roof vent design was required in order to have completed roofs that could be warranted by the roofing
manufacturer and that as such, the work was critical to receiving Certificates of Occupancy and substantial
completion. Testimony revealed that HANO internally made the decision that regardless of whether or not it
obtained certificates of occupancy and regardless of whether or not the buildings are declared to be
substantially complete, HANO was not going to put tenants into the buildings until the roof vent redesign
work was complete. See Adams testimony.
                                                   63
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 64 of 85



(62)     HANO/Perez’s approximate six-month delay between the request by Parkcrest and

Liberty for substantial completion and the provision of punch lists constituted a delay in

completing the work arising from unforeseeable causes beyond the control and without the

fault or negligence of Parkcrest.


(63)     As a result of HANO/Perez’s six month delay in providing punch lists for the

Project, HANO is not entitled to liquidated damages encompassing that time. La. Civ.

Code art. 2008 (“An obligor whose failure to perform the principal obligation is justified

by a valid excuse is also relieved of liability for stipulated damages.”).


(64)     The amount of an owner’s damages in a claim for breach of construction contract

can be limited to the diminution in value suffered from the defective or non-conforming

work if repairing the defective or non-conforming work would be economically wasteful.

HANO is precluded from seeking recovery of the Colmex Completion Contract sum from

Parkcrest or Liberty. In light of the minor work remaining when Liberty/Parkcrest were

terminated in June 2016, executing a contract with Colmex was economically wasteful.


(65)     Once the Project was substantially complete, HANO was required to give

Liberty/Parkcrest notice and an opportunity to repair any defective and/or non-conforming

work before hiring a third party completion contractor. 164 Thus, HANO cannot recover




164
    See Exhibit 459, General Conditions Section 23(a). Parkcrest/Liberty warranted “that work performed
under this contract conforms to the contract requirements and is free of any defect in equipment, material, or
workmanship performed by the Contractor.” If the warranty is breached, they have a duty to “remedy . . .
failure to conform, or any defect” at their expense.



                                                     64
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 65 of 85



the amount of the Colmex Completion Contract because it did not provide such notice or

an opportunity for Parkcrest to repair the warranty work that it hired Colmex to perform.


(66)   HANO’s alleged damages arising from Colmex’s work on the Project must be

restricted to the amount of any diminution in value that HANO proves it suffered as a result

of Parkcrest and/or Liberty’s work.


(67)   HANO’s refusal to grant substantial completion to Liberty/Parkcrest and its

subsequent contract with Colmex was unjustified and economically wasteful. By

terminating Liberty/Parkcrest from the Project on June 30, 2016, HANO took a Project that

was nearly completely finished and caused approximately four and one-half months of

further delay until the rebid process was complete and another contractor remobilized. In

addition to the delay, the rebid and change in contractor greatly increased the cost to final

completion, approximately $1.8 million in additional costs and expenses, and yet the

Project has still failed to reach final completion to date. If HANO had instead allowed

Parkcrest and Liberty to complete the Project, it would not have cost HANO anything

beyond the original contract price.


(68)   HANO bears the burden of proving the existence of all defective and/or non-

conforming work as well as the necessity and the cost of all repairs for said defective or

non-conforming work once Parkcrest and Liberty prove that the Project was substantially

complete. Foster v. Jackson, 339 So. 2d 865 (La. App. 3d Cir. 1976).


(69)   HANO failed to meet its burden of proving the existence, necessity, and cost of any

defective and/or non-conforming work after Parkcrest and Liberty established that the

                                             65
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 66 of 85



Project was substantially complete by December 31, 2015. The Court gives very little

weight to the testimony of HANO’s witnesses who often provided only vague and

conclusory statements regarding the cause of the defects, the necessity of the repairs, and

their cost. 165


(70)        During Colmex’s completion period, HANO significantly lowered its standard for

acceptance of work to complete the Project. For example, when HANO granted Colmex

substantial completion on March 25, 2017, HANO did not require formal DPW acceptance

and removed many of the red line items that were required for Parkcrest to obtain

substantial completion.


(71)        The unambiguous terms of the Takeover Agreement provide that the prevailing

party thereunder is entitled to its reasonable attorney’s fees, and that provision must be

applied as written. Frischhertz Elec. Co. Inc., 534 So. 2d at 1312; see also La. Civ. Code

art. 2046.


(72)        HANO is liable to Liberty for Liberty’s reasonable attorney’s fees, costs and interest

due to HANO’s breach of the Takeover Agreement.


(73)        HANO seeks damages for Parkcrest’s alleged Section 3/DBE/WBE penalty, which

constitutes stipulated damages for nonperformance under Louisiana law. See La. Civ. Code




165
      See infra, ¶ 83 at pp. 69-70.

                                                 66
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 67 of 85



art. 2005 (“Parties may stipulate the damages to be recovered in case of nonperformance,

defective performance, or delay in performance of an obligation.”).


(74)     Every contractor working on contracts partially or wholly funded by HUD is

required, per HANO’s policy, to award ten percent of the contract value to Section 3

enterprises, 20 percent to Disadvantaged Business Enterprises (DBE’s), and five percent

to Woman Business Enterprises (WBEs). 166 If the contractor fails to meet these minimum

standards, then he may be required to contribute two percent of the total contract amount

to HANO’s Section 3 Training Fund. 167


(75)     HANO is not entitled to recover any amount of the alleged Section 3/DBE/WBE

penalty based upon Parkcrest’s full or partial compliance with the requirements among

other circumstances.      See La. Civ. Code art. 2011 (“Stipulated damages for

nonperformance may be reduced in proportion to the benefit derived by the obligee from

any partial performance rendered by the obligor.”). Jennifer Adams testified that this is

the first time that HANO has assessed the full two percent penalty. In one prior instance,

HANO reversed its decision to assess the full two percent penalty after a single intervening

phone call from the Mayor’s Office. 168 Although Parkcrest was approximately 50 percent

in compliance, testimony revealed that Parkcrest demonstrated a concerted effort and

substantial commitment to complying with the minimum requirements. 169 Parkcrest not

only hired a former HANO employee to specifically run its compliance efforts, but




166
    Exhibit 2, at 194.
167
    Exhibit 2, at 202
168
    Adams testimony.

                                            67
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 68 of 85



Parkcrest also held job fairs on the site prior to beginning work on the Project in an effort

to hire the requisite subcontractors. 170


(76)    HANO is not entitled to recover utility payments or additional design services

allegedly arising from the delay of Parkcrest or Liberty due to its breaches of the Prime

Contract and Takeover Agreement.


(77)    Lin Heath, Liberty and Parkcrest’s expert and certified cost professional, opined

that $166,596.92 was the value of the remaining work as of Liberty’s June 30, 2016

termination based on the scope of the undisputed punch list work. 171


(78)    Liberty is owed the remaining contract balance at the time Liberty was terminated

by HANO on June 30, 2016. The total contract price ($11,394,172.02) minus the amount

HANO paid to date ($10,789,723.50) equals a contract balance of $604,448.52. 172 From

that contract balance, HANO is entitled to an offset of $166,596.92 for the value of the

undisputed punch list work that remained incomplete at the time of the June 30, 2016

termination, which yields a total contract balance of $437,851.60 owed to Liberty.


(79)    The Court finds that HANO has failed to establish an accurate or reasonable cost

for any defective or non-conforming work performed by Parkcrest. For instance, the record

established that much of HANO’s documentation regarding the Project, especially the

punchlists and other documents concerning costs, often reflected HANO’s attempt to



170
    HANO was aware of Parkcrest’s efforts and even advertised the job fairs.
171
    Exhibit 2324, Heath Report; See Exhibit 454.
172
    Heath initially stated in his report that the amount HANO paid to date through Pay Application 31T was
$10,763,763.76. Subsequent testimony revealed that an additional $25,959.74 had been paid by HANO
which lowered the contract balance from $630,408.26 to $604,448.52. See Dominquez and Heath Testimony.
                                                   68
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 69 of 85



inflate costs and other expenses as much as possible. For example, in an email between

Guy Barcelona 173 and Clayton regarding the cost to correct the minor height discrepancies

of the handrails, Barcelona directs Clayton to assume that the cost to correct the railings is

for all new railings, despite the fact that the railings merely needed an adjustment for height.

In another instance, despite stating in the ILSI punchlist that all of the light poles and light

pole bases needed to be replaced for an estimated cost of $227,200.00, Shumann

acknowledged that he believed only 16 required removal. 174 Ultimately, not a single one

of these light poles or bases were replaced by Colmex, and Shumann still recommended

DPW acceptance and HANO accepted the work as substantially complete all the same.175

Perez’s evaluation of incomplete work averaged approximately $27,000 per building.

However, according to Watts, a more realistic cost is $3,000 per building. Watts explained

that the difference is due to HANO including punchlist items that were completed prior to

June 2016 and also to the extremely high values that Perez assigned to the incomplete or

“non-conforming” work. The Industry Standard, according to Watts, is two times the

estimated value, while here, the assigned cost was in some cases ten times the actual cost

to fix the problem. 176




173
    When Kennedy left HANO for another job opportunity beginning in July 2016, Guy Barcelona replaced
him as HANO’s construction manager on the Project.
174
    Exhibit 436 at bates 5083, Shumann initial punch list.
175
    Shumann testimony.
176
    With respect to the Colmex Completion Contract, testimony revealed that HANO did not require Colmex
to verify or document the actual cost of the completion/corrective work it performed.
                                                  69
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 70 of 85



          Civil Action No.: 16-14118 (Ted Hebert v. Parkcrest and Liberty) 177


                                        FINDINGS OF FACT


(1)      Ted Hebert, LLC (“Hebert”) filed suit against Parkcrest and Liberty for their failure

to pay Hebert for work that it performed on the Project prior to Parkcrest’s termination on

April 10, 2015.


(2)      Turning back to December 2014, 178 the underground infrastructure work was out

of sequence, which complicated the work that needed to be completed. With all of the

other utility lines already in place (e.g., electric, gas, cable), the sewage and water work on

Congress and Alvar Streets now much more costly, labor-intensive, and time-consuming

to perform. As a result, Durr refused to complete the work.


(3)      Consequently, Parkcrest brought in Ted Hebert, LLC (“Hebert”) as a replacement

sewer and water subcontractor pursuant to an oral time and materials contract. Hebert

mobilized to begin work on December 10, 2014 and was instructed to furnish and install

all sewer and water utilities on Congress and Alvar Street. 179


(4)      There was no fixed price associated with the oral agreement between Parkcrest and

Hebert. There was also no agreed upon time for when invoices had to be submitted by

Hebert for payment.




177
    At trial, the Court severed Hebert’s claims against Parkcrest and Liberty related to the Guste Project.
(Rec. Doc. 478.)
178
    See supra at 24, the Prime Contract phase.
179
    McKinney testimony.
                                                      70
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 71 of 85



(5)        Parkcrest did not provide Hebert with a time frame or calendar date for which

Hebert was to complete the work on Congress Street and Alvar Street either before or

during construction. Given the circumstances, Parkcrest merely requested that the sewer

and water work be completed “as soon as possible.” 180


(6)        When Scott McKinney, Hebert’s superintendent, arrived on site in December 2014,

Stewart provided him with the September 2014 stamped and approved SWB Civil

Drawings for Congress and Alvar Streets. 181


(7)        The updated civil drawings incorrectly identified the underground utility

connections on Alvar Street and Congress Street.


(8)        Prior to Parkcrest’s termination on April 10, 2015, Hebert was able to complete the

installation of the water and sewer utilities on Congress Street and the owner and architect

accepted Hebert’s work.

(9)        Hebert did not complete the water and sewer utility work on Alvar Street before

April 10, 2015 due to various complications stemming from the inaccurate Civil Drawings.


(10)       McKinney testified that for Congress Street, the tie-ins for the sewer lines were not

located where depicted, and the location, amount, and size of the water services were

likewise incorrect.




180
      McKinney testimony.
181
      See exhibit 349, Congress and Alvar civil drawings stamped and dated 9/3/14.
                                                      71
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 72 of 85



(11)       McKinney could not locate the existing sewer main line on Alvar Street as depicted

on the Civil Drawings.


(12)       The 2003 as-builts depicted a manhole on the corner of Alvar Street that was not

shown on the Civil Drawings provided to McKinney. McKinney testified that if he had

the as-builts at that time and assuming the stubs were located where depicted, Hebert could

have completed the work on both streets in a substantially shorter amount of time

(approximately 2-4 weeks).


(13)       Compounding the difficulty in locating the utility tie-ins based on the inaccurate

Civil Drawings, McKinney testified that whoever originally constructed Alvar Street 182

failed to stamp the curb with certain marks (“W” or “S”) that would have identified the

location of utility infrastructure tie-ins. These stamps are a DPW requirement.


(14)       McKinney informed Stewart that he found only broken/abandoned sewer pipe at

the location depicted by the civil drawings on Alvar Street.


(15)       Ultimately, it was discovered that the sewer line on Alvar was not broken or

abandoned.


(16)       To the extent that Parkcrest failed to request CCTV videos during the exploratory

digging phase prior to April 10, 2015, the evidence did not demonstrate that such videos

would have helped locate the utility tie-ins any faster without accurate drawings.




182
      Parkcrest was not the original contractor for Alvar and Congress Streets.
                                                       72
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 73 of 85



(17)    After discussing the issue with the SWB, McKinney suggested to Stewart that a

parallel or “side sewer” line could be installed in lieu of the “broken” main sewer line.


(18)    Stewart authorized McKinney to install the side sewer line outside the servitude

and on the property of HANO as long as SWB approved of the plan. SWB subsequently

inspected and signed off on the “side sewer” line.


(19)    At the OAC Meeting held on November 14, 2013, HANO informed Parkcrest that

HANO did not want SWB lines on HANO property. 183


(20)    Representatives for HANO, Perez, and/or ILSI were present during Hebert’s

installation of the side sewer line and did not object until the line was nearly finished. 184


(21)    HANO and the Professionals of Record issued a notice of defective work to

Parkcrest relative to the “side sewer” on the Project on February 25, 2015. 185


(22)    On March 2, 2015, Parkcrest submitted RFI No. 119 concerning the “side sewer”

line and requested information on how to proceed. 186


(23)    On April 10, 2015, HANO terminated Parkcrest and made demand upon Liberty to

complete the Project.




183
    Exhibit 1661, Meeting Minutes #34 dated 11/14/13.
184
    McKinney testimony.
185
    Exhibit 802, ILSI Report dated 2/25/15.
186
    Exhibit 799, RFI 119 dated 3/2/15.
                                                  73
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 74 of 85



(24)     The Notice of Final Default and Termination issued by HANO to Parkcrest on April

10, 2015 in connection with the Project was recorded in the mortgage records for Orleans

Parish on April 10, 2015.


(25)     Hebert never returned to the Project after April 10, 2015.


(26)     On April 15, 2015, Hebert provided Parkcrest with all of the invoices for the work

performed on Congress Street and Alvar Street totaling $103,193.08. 187


(27)     Theodule Hebert, IV (“Trey”) testified that Hebert was unable to provide receipts

on some of this material due its office flooding in 2016, which resulted in the loss of a

significant amount of documents. Trey’s testimony further revealed that Hebert has

submitted similar invoices to Parkcrest on other projects without any objection from

Parkcrest.


(28)     Hebert’s 30 percent overhead and 15 percent profit markup is reasonable within the

industry. 188


(29)     Stewart testified that typically, once invoices have been submitted, Hebert would

be paid 45 to 60 days after he, HANO, and Perez certified that the work was completed. 189


(30)     HANO paid Parkcrest and/or Liberty for Hebert’s work on the Project. 190




187
    Exhibit 948, Hebert’s invoices to Parkcrest dated 4/15/15.
188
    Theodule Hebert III testimony.
189
    Stewart testimony.
190
    Stewart testimony.
                                                     74
 Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 75 of 85



(31)    To date, Parkcrest has failed to pay Hebert any of the invoiced amount. The date

of recordation of Hebert’s sworn statement of amount due is February 19, 2016. 191


(32)    On June 13, 2016, Ted Hebert, LLC (“Hebert”) filed a state petition against

Parkcrest and Liberty seeking payment under the Bond on the Project, plus attorneys’ fees

and costs.


(33)    At trial, Stewart testified that he would pay Hebert for the water lines that were

properly installed on Congress. 192


                                   CONCLUSIONS OF LAW


(1)     At the conclusion of Hebert’s case-in-chief at trial, Liberty moved for a Rule 52

Judgment on Partial Findings, arguing that Hebert’s claims against the bond are prescribed

under the Louisiana Public Works Act (“LPWA”). 193


(2)     Louisiana Revised Statute 38:2247 provides, in pertinent part:


        Nothing in this Part shall be construed to deprive any claimant, as defined
        in this Part and who has complied with the notice and recordation
        requirements of R.S. 38:2242(B), of his right of action on the bond
        furnished pursuant to this Part, provided that said action must be brought
        against the surety or the contractor or both within one year from the
        registry of acceptance of the work or of notice of default of the
        contractor . . . .




191
    Exhibit 949, Hebert Sworn Statement of Amount Due recorded 2/19/16.
192
    Stewart testimony.
193
    The Court took the Rule 52 motion under advisement and ordered briefing on the issue. See Rec. Docs.
485, 487, 492.
                                                  75
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 76 of 85



La. R.S. § 38:2247 (emphasis added). Therefore, under La. R.S. § 38:2247 of the LPWA,

a subcontractor claimant must assert its claims against a public works surety within one year

of recordation of either (1) acceptance of the project or (2) notice of default of the general

contractor.


(3)     Liberty argues that the prescriptive period for Hebert’s claims provided by La. R.S.

§ 38:2247 was triggered on April 10, 2015 – the date Parkcrest’s default and termination

was recorded in the public record – which in turn makes Hebert’s lawsuit untimely, as it

was filed more than a year from that date on June 13, 2016.


(4)    Hebert argues that La. R.S. § 38:2247 requires claimants to bring suit within one

year from either the registry of acceptance of the work or notice of default of the contractor.

Hebert contends that it had one year from either Parkcrest’s original default on September

15, 2014 or the issuance of the Certificate of Substantial Completion on March 25, 2017.


(5)    Hebert filed its state petition against Parkcrest and Liberty on June 13, 2016.

Therefore, Hebert’s claim on the bond is prescribed unless March 25, 2017, the date HANO

granted substantial completion, is an applicable triggering date for the prescriptive period

on Hebert’s claim to begin to run.


(6)    This case involves particularly unique circumstances which, at first glance, appear

to complicate the prescriptive issue before the Court. For instance, this case involves

multiple notices of default and terminations, an original contractor that was both the

General Contractor and then brought back as the Completion Contractor, a surety that took

over the Project for the purpose of completion and then was terminated, the same bond

                                              76
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 77 of 85



remained in place for both the original contract and the takeover contract, and despite

serving as both the General Contractor and the Completion Contractor, the original

contractor never completed the Project or obtained substantial completion.


(7)    As noted by the parties, the case law on the applicable statute is exceedingly scarce

and there are no cases that have directly addressed the applicable triggering date under

these circumstances. However, despite the complicated facts of this case and the lack of

precedent, the provisions of the LPWA must be applied based on the clear statutory

language provided. See Pierce Foundations, Inc. v. Jaroy Const., Inc., 2015-0785 (La.

5/3/16), 190 So. 3d 298, 303 (“When a law is clear and unambiguous, and its application

does not lead to absurd consequences, it shall be applied as written, with no further

interpretation made in search of the legislative intent.”).


(8)    Statutory interpretation commences with the language of the statute and progresses

with the assumption that each statutory term has “a particular, non-superfluous meaning.”

Bailey v. United States, 516 U.S. 137, 145–46 (1995); First Nat’l Bank of Boston v.

Beckwith Machin. Co., 94–2065 (La. 2/20/95), 650 So. 2d 1148 (noting that courts should

give effect to all parts of a statute and not adopt a construction making any part superfluous

or meaningless, if that result can be avoided).


(9)     Because the Louisiana Public Works Act is “in derogation of common rights, it is

stricti juris[,] and liability of a surety may not be expanded beyond the Act.” Martin

Marietta Materials of La., Inc., v. U.S. Fid. & Guar. Co., 940 So. 2d 152, 156 (La. App.

2d Cir. 2006) (citing La. R.S. § 38:2241(C)).


                                              77
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 78 of 85



(10)    Hebert’s payment on the bond claim against Liberty is time-barred because March

25, 2017, the date of acceptance, is not the applicable triggering date for Hebert’s claim.

As a matter of course, an acceptance of work generally occurs after a notice of default. If

the facts establish that a notice of default has been entered against the general contractor,

then the date of the recordation of that notice of default must be the triggering date for the

one-year prescriptive period or else that provision has no purpose. Hebert’s interpretation

essentially provides it with the option of choosing the later date, the date of acceptance, as

the trigger date for its claims; however, such an interpretation effectively renders the

statute’s notice of default provision meaningless. Courts are bound to give effect to all

parts of a statute and cannot give a statute an interpretation that makes any part superfluous

or meaningless, if that result can be avoided. Langlois v. East Baton Rouge Parish School

Bd., 99–2007 (La. 5/16/00), 761 So. 2d 504. Therefore, in order to give meaning to all

parts of the applicable statute and to avoid rendering the notice of default provision

superfluous, the Court finds that the notice of default is the only applicable triggering date

in this case.


(11)    The evidence shows that Hebert had one year from the date of recordation of

Parkcrest’s final notice of default and termination, April 10, 2015, within which to file its

claim. The Court’s conclusion is further supported by the fact that Hebert only performed

work on the Project as a subcontractor for Parkcrest. Moreover, it is undisputed that Hebert

performed no work after the April 10, 2015 termination and had no connection with

Colmex, the contractor that obtained the Certificate of Substantial Completion. Therefore,

the March 25, 2017 date may not be relied upon for the purposes of extending the time to


                                             78
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 79 of 85



file suit. After the default and termination of Parkcrest was properly recorded, Hebert was

put on notice that it needed to timely file its claim within one year in order to preserve its

claim on the bond. Hebert’s payment on the bond claim against Liberty is time-barred, as

it was initiated on June 13, 2016, more than a year from April 10, 2015, the trigger date for

the one-year prescriptive period of its claim.


(12)   A claim for breach of contract and a claim under the open account statute are

considered distinct causes of action. Cambridge Toxicology Grp., Inc. v. Exnicios, 495

F.3d 169, 174 (5th Cir. 2007) (citing Operational Tech. Corp. v. Envtl. Contractors, Inc.,

665 So. 2d 14, 15 (La. App. 3d Cir. 1995)).


(13)    “The ‘time and materials’ contract is a form of open-ended cost reimbursement

contract under which the contractor is paid merely for furnishing construction resources of

labor and materials without significant performance risk. Remuneration is computed (1)

on direct labor or equipment hours at specified fixed hourly rates that include wages, direct

costs, field overhead, general administrative expenses and profit, and (2) on materials at

cost, including, if appropriate, material handling cost as part of material cost.” § 2:29.

Types of Contracts—Time and materials, and force account, 1 Bruner & O'Connor

Construction Law § 2:29.


(14)   Louisiana Revised Statute § 9:2781, Louisiana’s Open Account Statute, provides

for claims on an open account, in pertinent part, as follows:

       A.      When any person fails to pay an open account within thirty days
       after the claimant sends written demand therefor correctly setting forth the
       amount owed, that person shall be liable to the claimant for reasonable
       attorney fees for the prosecution and collection of such claim when
       judgment on the claim is rendered in favor of the claimant. Citation and
                                           79
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 80 of 85



       service of a petition shall be deemed written demand for the purpose of this
       Section. If the claimant and his attorney have expressly agreed that the
       debtor shall be liable for the claimant's attorney fees in a fixed or
       determinable amount, the claimant is entitled to that amount when judgment
       on the claim is rendered in favor of the claimant. Receipt of written demand
       by the person is not required.

       D.       For the purposes of this Section and Code of Civil Procedure
       Articles 1702 and 4916, “open account” includes any account for which a
       part or all of the balance is past due, whether or not the account reflects one
       or more transactions and whether or not at the time of contracting the parties
       expected future transactions. “Open account” shall include debts incurred
       for professional services, including but not limited to legal and medical
       services. For the purposes of this Section only, attorney fees shall be paid
       on open accounts owed to the state.

La. R.S. § 9:2781.


(15)   The Louisiana Supreme Court has cautioned that the open account statute must be

construed “strictly . . . because the award of attorney fees is exceptional and penal in

nature.” Cong. Square Ltd. P'ship v. Polk, 10-317, 2011 WL 837144, at *4–5 (E.D. La.

Mar. 4, 2011) (citing Frank L. Beier Radio, Inc. v. Black Gold Marine, Inc., 449 So. 2d

1014, 1015 (La. 1984)). “With this principle in mind, the courts—while acknowledging

that an agreement necessarily underlies an open account—have consistently drawn the

distinction between open accounts and ordinary contracts.” Id. (citations omitted).


(16)   Whether an agreement constitutes an open account turns primarily on questions of

an agreement’s determinacy. An open account, as opposed to an ordinary contract,

generally leaves undetermined key aspects of the obligation such as the time period during

which services will be rendered or the total cost of the services for which a party may be

liable. Wood Materials LLC v. Berkley Ins. Co., 17-10955, 2018 WL 560473, at *3 (E.D.

La. Jan. 24, 2018); Ormet Primary Aluminum Corp. v. Ballast Techs., Inc., 436 F. App’x.

                                             80
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 81 of 85



297, 301 (5th Cir. 2011) (“As the obligation in question constituted an open account

because of its undetermined total, and as Ormet has complied with all requirements of the

Louisiana Open Accounts Statute, it is entitled to attorneys' fees.” ). Further, as the Fifth

Circuit has pointed out, “[a] hallmark of an open account is that [t]he total cost, unlike a

contract, is generally left open or undetermined, although the rate for specific services may

be fixed, such as an hourly rate.” Ormet Primary, 436 F. App’x. at 301 (internal quotation

marks omitted) (alteration in original); see also Wood Materials LLC, 2018 WL 560473 at

*3 (“In short, an open account, as its name indicates, is an account that is open to future

modification, one that is left open for ongoing debit and credit entries . . . and that has a

fluctuating balance until either party finds it convenient to settle and close, at which time

there is a single liability.”).

(17)    A contract is an agreement embodying “a concurrence in understanding [of] the

terms.” Cong. Square Ltd. P'ship, 2011 WL 837144 at *4–5 (citations omitted). While an

open account, as its name indicates, is an account that is “open to future modification,” one

“that is left open for ongoing debit and credit entries . . . and that has a fluctuating balance

until either party finds it convenient to settle and close, at which time there is a single

liability,” Id. “An open account has been compared to a credit account,” and a line of credit

is an indicium of an open account. Id.


(18)    The time and materials agreement between Hebert and Parkcrest constituted an

open account. Testimony established that the sewer and water utility work was to be

performed on credit as Hebert expended time, labor, and materials to render professional

services. Also, the total price was an undetermined amount as was the amount of work

                                              81
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 82 of 85



and the amount of time that would be required to complete the sewer and water utilities.

See Frey Plumbing Co., Inc. v. Foster, 07-1091 (La. 2/26/08), 996 So. 2d 969 (finding a

plumbing company’s suit to recover amount for plumbing and tunneling services

constituted a claim on an open account).


(19)   As a general rule, attorney fees are not due and owing a successful litigant unless

specifically provided for by contract or by statute. Louisiana courts construe such statutes

strictly because the award of attorney fees is exceptional and penal in nature. Accusess

Envtl., Inc. v. Walker, 15-0008 (La. App. 1 Cir. 12/17/15), 185 So. 3d 69, 74.


(20)   Hebert’s failure to provide supporting documentation for the invoices it submitted

to Parkcrest does not defeat its claim for amounts past due. Testimony revealed that the

relevant documentation was lost in a recent flood of Hebert’s office. Additionally,

testimony further revealed that Parkcrest raised no issue or complaint of Hebert’s lack of

supporting documentation in the parties’ past course of dealings. Parkcrest’s argument

that HANO’s involvement distinguishes those past dealings from the situation at hand is

unavailing.   HANO has already paid Parkcrest the full amount for Hebert’s work.

Therefore, Parkcrest may not rely on HANO’s more stringent documentation requirements

to justify its own refusal to pay Hebert. There is no real dispute that Hebert expended the

time and materials that it has invoiced Parkcrest for on the Project.


(21)   In light of the complications that arose in the sewer work, which could have been

prevented if HANO had provided accurate drawings or at least not deliberately withheld

relevant documents, the Court finds Parkcrest and Hebert not at fault for the delays

associated with the Alvar Street construction. Although HANO informed Parkcrest in 2013
                                             82
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 83 of 85



that it did not want SWB lines on HANO property, the Court also finds that the fact that

HANO, Perez, and/or ILSI representatives were present during the installation of the side

sewer line on HANO property and failed to object until the line was nearly finished further

diminishes Parkcrest/Hebert’s culpability for any delay.


(22)     It is clear that the delays related to the sewer and water utility work were not

caused by the negligence or mismanagement of Parkcrest or Hebert.                 The record

demonstrates that Parkcrest and at least three different subcontractors all had great

difficulty in completing this portion of the work and that such difficulty was caused by the

lack of accurate civil drawings compounded by the complexity and scope of the Project.


(23)   To the extent Hebert was negligent in its performance as the water and sewer

subcontractor, Parkcrest is not entitled to damages or an offset because Parkcrest approved

of and accepted Hebert’s course of action. Also, McKinney’s statement that the Alvar

Street sewer line was broken/abandoned was an incorrect statement but not an intentional

misrepresentation.


(24)   Hebert completed the scope of its work on the Project to the extent that it worked

towards completing the sewer and water lines as soon as possible under a time and

materials agreement. The fact that Hebert did not return to the Project to complete the

sewer and water lines after termination did not constitute a breach of contract under the

terms of the agreement.


(25)   La. R.S. § 9:2781(C) provides: “[I]f the demand is made by citation and service of

a petition, the person shall be entitled to pay the account without attorney fees by delivering

                                              83
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 84 of 85



payment to the claimant or the claimant's attorney within ten days after service of the

petition in city courts and fifteen days after service of the petition in all other courts.” La.

R.S. § 9:2781(C).


(26)    Hebert has complied with the requirements of the Louisiana Open Accounts

Statute, as it caused written demand to be made upon Parkcrest, more than 30 days prior to

receiving a judgment in its favor.


(27)    Because all services rendered and material provided by Hebert were delivered upon

an open account and Parkcrest failed to pay on that open account within the applicable time

period, in addition to the full amount of the claim, Hebert is entitled to reasonable

attorney’s fees under the Louisiana Open Accounts Statute for the prosecution and

collection of such a claim.

                                       CONCLUSION

        Based on the foregoing Findings of Fact and Conclusions of Law,

(1)     Parkcrest is not liable to HANO;

(2)     Liberty is not liable to HANO;

(3)     HANO is liable to Liberty in the amount of $437,851.60 plus reasonable attorney’s

fees;

(4)     Parkcrest is liable to Hebert in the amount of $103,193.08 plus reasonable

attorney’s fees; and

(5)     Liberty’s Rule 52 Judgment on Partial Findings (Rec. Doc. 485) is GRANTED.

Hebert’s claims against Liberty are DISMISSED with prejudice.



                                              84
Case 2:15-cv-01533-CJB-KWR Document 537 Filed 06/08/18 Page 85 of 85



       A court sitting in diversity awards prejudgment interest according to state law,

which in Louisiana is the interest rate set out in La. R.S. § 9:3500, but calculates

postjudgment interest according to the federal rate, see 28 U.S.C. § 1961. Accordingly,

the Court awards prejudgment interest at the Louisiana rate and postjudgment interest at

the federal rate, from the date of judicial demand until paid.


        Within 14 days, the parties shall submit to the Court a proposed form for a final

judgment in accordance with these findings and conclusions.


       New Orleans, Louisiana, this 8th day of June, 2018.




                                      _________________________________________
                                      CARL J. BARBIER
                                      UNITED STATES DISTRICT JUDGE




                                             85
